                              EXHIBIT 20




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                               In The Matter Of:
                              TERRY LYNN KING vs
                              TONY PARKER, et al.




         VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN
                                 October 12, 2021




                             Gibson Court Reporting
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           VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN

                                  October 12, 2021

                    IN THE UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION


        TERRY LYNN KING,                                   )
                                                           )
                   Plaintiff,                              ) CAPITAL CASE
                                                           )
        vs.                                                ) CASE NO.
                                                           ) 3:18-CV-01234
        TONY PARKER, et al.,                               )
                                                           )
                   Defendants.                             )

       APPEARANCES:

                          FOR THE PLAINTIFF:
                          ALEX KURSMAN, ESQ.
                          LYNNE LEONARD, ESQ.
                          ANA BALDRIGE, ESQ.
                          HAYDEN NELSON-MAJOR, ESQ.
                          Assistant Federal Defenders
                          Federal Community Defender Office
                          for the Eastern District of Pennsylvania
                          601 Walnut Street, Suite 545W
                          Philadelphia, Pennsylvania 19106

                          JEREMY GUNN, ESQ.
                          Bass, Berry & Sims PLC
                          150 Third Avenue South, Suite 2800
                          Nashville, Tennessee 37201

                          SCOTT C. SUTHERLAND, ESQ.
                          DEAN S. ATYIA, ESQ.
                          CODY N. BRANDON, ESQ.
                          Tennessee Attorney General's Office
                          P.O. Box 20207
                          Nashville, Tennessee 37202

       ALSO PRESENT: David Jenkins, Videographer
                     Jules Welsh, Esq.


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  1                         S T I P U L A T I O N S

  2                The videotaped videoconference deposition of

  3    PHYSICIAN, called as a witness at the instance of the

  4    Plaintiff, taken pursuant to all rules applicable to

  5    the Federal Rules of Civil Procedure by notice on the

  6    12th day of October, 2021, at 10:00 a.m., before Rhonda
  7    S. Sansom, RPR, CRR, CRC, Licensed Court Reporter,

  8    pursuant to stipulation of counsel.

  9                It being agreed that Rhonda S. Sansom, RPR,

 10    CRR, CRC, Licensed Court Reporter, may report the

 11    deposition in machine shorthand, afterwards reducing

 12    the same to typewriting.

 13                All objections except as to the form of the
 14    questions are reserved to on or before the hearing.

 15                It being further agreed that all formalities

 16    as to notice, caption, certificate, transmission, et

 17    cetera, including the reading of the completed

 18    deposition by the witness and the signature of the

 19    witness, are expressly waived.

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  1                                  I N D E X

  2                         E X A M I N A T I O N S

  3

  4     PHYSICIAN                                                       PAGE

  5     Examination by Ms. Nelson-Major                                     6

  6
  7                               E X H I B I T S

  8

  9       No.                       Description                            Page

 10        80   Agreement Between the Tennessee
                Department of Correction and [Redacted]
 11             re Provider
                Bates Ds' First Resp. to RFP 000170-171                     28
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  1                       THE VIDEOGRAPHER:        We're on the record at

  2            10:00 a.m. Eastern Standard Time on October 12th,

  3            2021.

  4                       This is the video deposition of Physician

  5            taken remotely via Zoom in the matter of Terry

  6            Lynn King versus Tony Parker, et al., Case No.
  7            3:18-CV-01234, filed in the U.S. District Court,

  8            Middle District of Tennessee, Nashville Division.

  9                       Counsel will state their names and

 10            affiliations for the record, and the court

 11            reporter will swear in the witness.

 12                       MS. NELSON-MAJOR:        Good morning.       My name

 13            is Hayden Nelson-Major.          I'm with the Federal
 14            Community Defender Office for the Eastern District

 15            of Pennsylvania.        I represent the plaintiff in

 16            this matter, Terry King.

 17                       Also on the Zoom today from my office is

 18            Lynne Leonard, Ana Baldrige, and Alex Kursman.

 19                       Also from my office is Jules Welsh, a new

 20            attorney with our office who is not representing

 21            Mr. King but is just joining to observe today for
 22            educational purposes.

 23                       And lastly, also representing Terry King

 24            is Jeremy Gunn with Bass, Berry & Sims.

 25                       MR. SUTHERLAND:       Good morning.       Scott

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  1            Sutherland with the Tennessee Attorney General's

  2            Office.     We represent the defendants in the case,

  3            Commissioner Tony Parker and Warden Tony Mays.

  4                       And we also represent the Physician here

  5            for the purposes of this deposition.

  6                       Also present on the record are Dean Atyia
  7            and Cody Brandon with our office.

  8                       And I think that's it, Ms. Nelson-Major,

  9            other than I assume we're going with the standing

 10            process of objection to form.               We will reserve all

 11            objections as we have in our other depositions,

 12            except objections based on privilege.

 13                       MS. NELSON-MAJOR:        Yes, that's fine by
 14            me.

 15                       MR. SUTHERLAND:       All right.      And ready

 16            when you are.

 17                       THE COURT REPORTER:        At this time, I'll

 18            place our witness under oath.

 19                       (Technical pause.)

 20                       THE WITNESS:      I've lost audio.

 21                       MR. SUTHERLAND:       Are you able to hear?
 22                       THE WITNESS:      Yes.

 23                       MR. SUTHERLAND:       You can hear.

 24                                 PHYSICIAN,

 25    having been first duly sworn, testified as follows:

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  1                       (Discuss off the record.)

  2                       THE VIDEOGRAPHER:        We're back on record

  3            at 10:06 a.m.

  4                                 EXAMINATION

  5    BY MS. NELSON-MAJOR:

  6            Q.         Good morning, Physician.          As I said, my
  7    name is Hayden Nelson-Major.            I'm an attorney with the

  8    Federal Community Defender Office located in

  9    Philadelphia, Pennsylvania.           I represent Terry King,

 10    the plaintiff in this matter of King versus Parker

 11    currently pending in the Middle District of Tennessee.

 12                       Thank you for taking the time to answer

 13    these questions today.
 14                       You understand you're here today to answer

 15    questions related to the King case, right?

 16            A.         Yes.

 17            Q.         What is your understanding of what that

 18    case is about?

 19            A.         I'm not sure if I know.

 20            Q.         I would like to cover a couple of ground

 21    rules before we get started.            Have you ever had your
 22    deposition taken before?

 23            A.         Yes.

 24            Q.         How many times?

 25            A.         Two or three.

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  1            Q.         And when did those depositions occur?

  2            A.         Over the past 40 years.

  3            Q.         And when was the most recent deposition?

  4            A.         Guesstimating, 2006.

  5            Q.         And what were those cases about?

  6                       MR. SUTHERLAND:       I'm going to --
  7            Ms. Nelson-Major, I'm going to have -- instruct

  8            the Physician to be very general in his

  9            description of the cases.

 10                       So you can give a general description of

 11            the cases.      And my instructions are based on the

 12            Court's protective order.

 13    BY MS. NELSON-MAJOR:
 14            Q.         You can go ahead and answer, Physician.

 15            A.         In some cases, there was a complication

 16    from treatment rendered.          In other cases, I testified

 17    for the plaintiff.

 18            Q.         Were they medical malpractice cases?

 19            A.         Yes.

 20            Q.         Were you the defendant in any of those

 21    cases?
 22            A.         Yes.

 23            Q.         And in how many of those two or three

 24    cases were you the defendant?

 25            A.         Two.

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   1            Q.        And what were the outcome of those two

   2    cases?

   3            A.        I didn't go to trial.             We settled out of

   4    court.

   5            Q.        Physician, I'm having a hard time hearing

   6    that.    Could you repeat your answer, please?
   7            A.        Settled out of court.

   8            Q.        Did both of the cases settle out of

   9    court?

  10            A.        Yes.

  11            Q.        And was the plaintiff awarded monetary

  12    damages?

  13            A.        I assume.
  14            Q.        I'm sorry, did you say "I assume?"

  15                      MS. NELSON-MAJOR:        Rhonda, are you having

  16            a hard time hearing the Physician's answers?

  17                      (Discussion off the record.)

  18                      MR. KURSMAN:       This is Alex Kursman.         Can

  19            we go off the record again?

  20                      THE VIDEOGRAPHER:        We are off the record.

  21                      (Discussion off the record.)
  22                      THE VIDEOGRAPHER:        We are back on record

  23            at 10:14 a.m.

  24    BY MS. NELSON-MAJOR:

  25            Q.        The two medical malpractice cases that

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   1    settled out of court, did either one involve issues

   2    related to the setting of IV lines?

   3            A.        No.

   4            Q.        Did either involve issues related to

   5    determining a patient's consciousness?

   6            A.        No.
   7            Q.        And did either involve issues related to

   8    pronouncing death?

   9            A.        No.

  10            Q.        Have you ever been deposed about your

  11    role in executions conducted by Tennessee?

  12            A.        No.

  13            Q.        And do you understand that you're under
  14    oath today?

  15            A.        Yes.

  16            Q.        Is there any reason you cannot testify

  17    truthfully or accurately today?

  18            A.        No.

  19            Q.        And are you represented by counsel?

  20            A.        Not personally.

  21            Q.        And even though this deposition is being
  22    taken over Zoom, the court reporter is making a record

  23    based on what you say.         If you don't understand a

  24    question, just let me know and I'll try my best to

  25    clarify the question.         However, if you answer a

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   1    question I will assume you understood.

   2                      If you need to take a break at any time,

   3    let me know.      I'll just ask that you answer any pending

   4    questions before we take a break.

   5                      Mr. Sutherland may object to my questions

   6    from time to time, but you will need to answer unless
   7    the objection is based on an assertion of privilege.

   8                      Is there anyone else in the room with you

   9    today?

  10            A.        No.

  11            Q.        What did you do to prepare for the

  12    deposition today?

  13            A.        Reviewed some documents and had a meeting
  14    with the Attorney General's Office.

  15            Q.        And when did you have that meeting with

  16    people from the Attorney General's Office?

  17            A.        Within the last two months.

  18            Q.        Was it just one meeting?

  19            A.        Possibly two.

  20            Q.        And who was present at those meetings

  21    from the Attorney General's Office?
  22            A.        Rob Mitchell and Scott Sutherland come to

  23    mind, along with others.

  24            Q.        And were all the other people present

  25    also with the Attorney General's Office?

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   1            A.        As far as I know, yes.

   2            Q.        And how long did those meetings last?

   3            A.        20 to 30 minutes.

   4            Q.        And what documents did you review?

   5            A.        A contract, the protocol.           That's all

   6    that I recall.
   7            Q.        Did Mr. Mitchell and Mr. Sutherland

   8    provide you with those documents?

   9            A.        I had the contract, and the protocol was

  10    reviewed via Zoom.

  11            Q.        Did you review any other materials to

  12    prepare for the deposition today?

  13            A.        Could you repeat your question?
  14            Q.        Did you review any other documents in

  15    preparation for today's deposition?

  16            A.        The Hippocratic Oath.

  17            Q.        And why did you review the Hippocratic

  18    Oath?

  19            A.        In case there were any questions

  20    pertaining to it.

  21            Q.        Did you meet with anyone else other than
  22    personnel from the Attorney General's Office in

  23    preparation for today?

  24            A.        No.

  25            Q.        Did you review transcripts from any of

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   1    the other depositions taken in this case?

   2            A.        No.

   3            Q.        Did you discuss this deposition with

   4    anyone other than Mr. Sutherland and Mr. Mitchell?

   5            A.        No.

   6            Q.        And how much time in total do you
   7    estimate that you spent preparing for today?

   8            A.        Approximately three or four hours.

   9            Q.        And besides those meetings and reviewing

  10    the three documents you listed, what else did you do

  11    during that three and four hours?

  12            A.        Listened attentively.

  13            Q.        What is your highest level of education?
  14            A.        M.D.

  15            Q.        When did you earn that degree?

  16            A.        19- --

  17                      MR. SUTHERLAND:        I'm going -- I'm going

  18            to instruct the Physician not to answer the

  19            specific year.       But he can give approximately how

  20            many years ago.

  21                      THE WITNESS:       Approximately 40 years ago.
  22    BY MS. NELSON-MAJOR:

  23            Q.        And did you complete any coursework

  24    subsequent to medical school?

  25            A.        I do not understand the question.

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   1            Q.        Did you have any other training beyond

   2    medical school?

   3            A.        Yes.

   4            Q.        And what was that?

   5                      MR. SUTHERLAND:        You can describe it

   6            generally.
   7                      THE WITNESS:       A residency training.

   8    BY MS. NELSON-MAJOR:

   9            Q.        In what field of medicine was your

  10    residency training?

  11                      MR. SUTHERLAND:        You can answer the

  12            question.

  13                      THE WITNESS:       General surgery.
  14    BY MS. NELSON-MAJOR:

  15            Q.        Do you hold any professional licenses?

  16            A.        No.

  17            Q.        Do you hold a medical license?

  18            A.        Yes.

  19            Q.        Is your medical license active?

  20            A.        In which state?

  21            Q.        I'm not going to ask you to identify a
  22    state.

  23                      MR. SUTHERLAND:        The question is, you can

  24            answer if you have a valid license to practice

  25            medicine.

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   1                      THE WITNESS:       Yes.

   2    BY MS. NELSON-MAJOR:

   3            Q.        Do you have a valid medical license to

   4    practice medicine in more than one state?

   5            A.        No.

   6            Q.        Do you have medical licenses in other
   7    states that are no longer active?

   8            A.        Yes.

   9            Q.        And generally, what is your medical

  10    specialty?

  11            A.        General practice.

  12            Q.        And when you say "general practice," is

  13    that family medicine?
  14            A.        Basically.

  15            Q.        And do you hold any certifications?

  16            A.        No.

  17            Q.        Are you Board certified in any particular

  18    medical field?

  19            A.        No.

  20            Q.        Do you have any military training?

  21            A.        No.
  22            Q.        Do you participate in any volunteer

  23    programs?

  24            A.        Not currently.

  25            Q.        Are you currently employed?

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   1            A.        Yes.

   2            Q.        Can you generally describe to me the type

   3    of institution at which you currently practice

   4    medicine?

   5            A.        A primary care clinic.

   6            Q.        And what is your current job title?
   7            A.        Physician.

   8            Q.        And how long have you held that position?

   9            A.        Over ten years.

  10            Q.        You're not an anesthesiologist; is that

  11    correct?

  12            A.        Correct.

  13            Q.        Do you have any specialized training in
  14    anesthesiology?

  15            A.        No.

  16            Q.        What about pharmacology?

  17            A.        The general training that all physicians

  18    get.

  19            Q.        And what was your employment prior to the

  20    outpatient clinic at which you currently work?

  21                      MR. SUTHERLAND:        You can just -- you can
  22            answer generally.

  23                      THE WITNESS:       Self-employed.

  24    BY MS. NELSON-MAJOR:

  25            Q.        What do you mean by "self-employed?"

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   1            A.        I had my own practice.

   2            Q.        Was that also family medicine?

   3            A.        No.

   4            Q.        What type of practice was that?

   5                      MR. SUTHERLAND:        You can answer

   6            generally.
   7                      THE WITNESS:       Generally, surgery.

   8    BY MS. NELSON-MAJOR:

   9            Q.        And what sorts of surgeries did you

  10    perform while in your solo practice?

  11            A.        Generalized procedures.

  12            Q.        And how long did you maintain that solo

  13    practice?
  14            A.        Four years.

  15            Q.        And what types of procedures did you

  16    perform while self-employed?

  17            A.        Those within the purveyance of a general

  18    surgeon.

  19            Q.        Can you give me some examples of the

  20    types of surgeries that you performed?

  21            A.        Herniorrhaphies, laparoscopic
  22    cholecystectomies.

  23                      MS. NELSON-MAJOR:        I'm sorry, Rhonda,

  24            were you able to catch the answer?

  25                      Okay.    Rhonda's indicating that she was

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   1            able to hear that.

   2    BY MS. NELSON-MAJOR:

   3            Q.        While performing those surgeries, did you

   4    monitor the patient for anesthetic death?

   5            A.        No.

   6            Q.        Was somebody else responsible for doing
   7    that during the surgeries you performed?

   8            A.        Yes.

   9            Q.        And who -- who, without naming names, was

  10    responsible for that?

  11            A.        The anesthesia department.

  12            Q.        And why were you not also performing that

  13    function during the surgeries?
  14            A.        I was devoting my entire attention to the

  15    procedure.

  16            Q.        Over the course of your 40-year career,

  17    did you have occasion to monitor -- excuse me --

  18    monitor anesthetic death of a patient undergoing

  19    surgery?

  20            A.        I'm sorry, ma'am, I did not understand

  21    the question.
  22            Q.        Over the course of your medical career,

  23    have you ever monitored a patient in surgery for

  24    anesthetic death?

  25            A.        Yes.

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   1            Q.        And when was that?

   2            A.        During most endoscopies and minor

   3    procedures, twilight sleep is used.

   4            Q.        You said endoscopies, and what was the

   5    other procedure you mentioned?

   6            A.        Other minor procedures.
   7            Q.        So when performing an endoscopy or other

   8    minor procedures, there was not a separate

   9    anesthesiologist or similarly trained professional in

  10    the room with you?

  11            A.        No.

  12            Q.        And when was the last time that you

  13    monitored anesthetic death during one of those
  14    procedures?

  15            A.        2006.

  16            Q.        And during the other surgeries that you

  17    performed that are not minor procedures, was there

  18    always an anesthesiologist in the room for those

  19    procedures?

  20            A.        Or a CRNA.

  21            Q.        Have you ever monitored a patient to
  22    ensure that they were under a surgical plane of

  23    anesthesia?

  24            A.        No.

  25            Q.        Are you aware that the subject of this

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   1    deposition concerns your involvement in executions

   2    carried out in Tennessee?

   3            A.        Again, could you repeat the question?

   4            Q.        Are you aware that the deposition today

   5    is related to your involvement in executions carried

   6    out in Tennessee?
   7            A.        Yes.

   8            Q.        And what is the title of the role that

   9    you play in Tennessee executions?

  10                      MR. SUTHERLAND:        Object to the form.        You

  11            can answer.

  12                      THE WITNESS:       Physician-slash-provider.

  13    BY MS. NELSON-MAJOR:
  14            Q.        You said "physician-slash-provider?"

  15            A.        Yes.

  16            Q.        And do you serve in this role for all

  17    executions carried out in Tennessee, regardless of the

  18    method?

  19            A.        Only the ones since February 2018, I

  20    think.

  21            Q.        I'm sorry, what year?
  22            A.        2018.

  23            Q.        Was the first execution that you attended

  24    in 2018?

  25            A.        I'm assuming.

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   1            Q.        You're assuming?        Is that what you said?

   2            A.        Yes, ma'am.

   3            Q.        Prior to 2018, did you have any

   4    involvement in executions carried out in Tennessee?

   5            A.        I do not recall.

   6            Q.        How did you come to serve as the
   7    physician-slash-provider in Tennessee executions?

   8                      MR. SUTHERLAND:        You can give a very

   9            general description of how you came to hold that

  10            role, without saying anything that might lead to

  11            discovery of your identity.

  12                      THE WITNESS:       A conversation with I think

  13            he's the Assistant Commissioner, Lee Dotson,
  14            inquiring if I would be interested in

  15            participating.

  16    BY MS. NELSON-MAJOR:

  17            Q.        And I was having a bit of trouble

  18    hearing.     You had a conversation with an assistant

  19    commissioner; is that what you said?

  20            A.        Let me use his name in case it wasn't his

  21    title, if that's all right.           Lee Dotson.
  22            Q.        Lee Dotson?

  23            A.        Yes.

  24            Q.        And when Lee Dotson approached you, what

  25    did Mr. Dotson ask you?

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   1            A.        I do not remember the specifics of the

   2    conversation.

   3            Q.        Did Mr. Dotson outline what your duties

   4    would be as provider-slash-physician?

   5            A.        In a general way, yes.

   6            Q.        And what was that general description
   7    that was given to you?

   8                      MR. SUTHERLAND:        Object to the form.

   9    BY MS. NELSON-MAJOR:

  10            Q.        You can answer.

  11            A.        That I would be available to pronounce

  12    the time of death and perform any necessary procedures,

  13    if needed.
  14            Q.        And what was your understanding of what

  15    those procedures might be?

  16            A.        At that time, a venous cutdown.

  17            Q.        You said "At that time."          At some point,

  18    did your understanding of what procedures you might be

  19    called on to perform change?

  20            A.        No.

  21            Q.        And did you indicate that you were
  22    willing to do that?

  23            A.        I don't recall the specifics.            But again,

  24    I'm sure I did.

  25            Q.        Did you have to provide Mr. Dotson with a

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   1    resume?

   2            A.        Could you repeat your question?

   3            Q.        Did you provide Mr. Dotson with a copy of

   4    your resume?

   5            A.        I don't recall now.

   6            Q.        Do you recall whether you had to submit a
   7    copy of your medical license?

   8            A.        Again, I don't recall.

   9            Q.        Other than your conversation with

  10    Mr. Dotson, did you discuss this opportunity with

  11    anyone else affiliated with TDOC?

  12                      MR. SUTHERLAND:        You can answer, without

  13            identity -- identifying anyone by name.
  14                      THE WITNESS:       Yes.

  15    BY MS. NELSON-MAJOR:

  16            Q.        And without providing their names at this

  17    point, who were those people?

  18            A.        Additional personnel associated with the

  19    Tennessee Department of Correction.

  20            Q.        Were those people that you spoke with

  21    involved in the Execution Team?
  22            A.        No.

  23            Q.        Were they part of the administration at

  24    TDOC?

  25            A.        Yes.

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   1            Q.        And how many such conversations did you

   2    have?

   3            A.        I don't recall an exact number.

   4            Q.        Did those conversations occur prior to

   5    you agreeing to serve as the physician-slash-provider?

   6            A.        Yes, ma'am.
   7            Q.        And what was discussed at those meetings?

   8            A.        Again, I don't recall specifics.

   9            Q.        Were they in person?

  10            A.        No.

  11            Q.        Were they over the phone?

  12            A.        Yes.

  13            Q.        Were there email conversations?
  14            A.        That, I don't recall.

  15            Q.        And I'm going to ask a question.             Who at

  16    TDOC -- without naming their names, I'm asking for

  17    those roles -- was involved in those conversations?

  18            A.        I'm sorry, could you speak a little

  19    slower and repeat the question?

  20                      MR. SUTHERLAND:        I'm sorry to interrupt.

  21            So the Physician wears hearing aids, and he is not
  22            wearing those right now because we've got the

  23            earbuds in.      So I just -- doctor, I didn't want

  24            to -- I didn't want to necessarily offer that, but

  25            I just want to make everybody aware of that so

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   1            when he keeps asking, it may have to do with that

   2            issue.

   3                      MS. NELSON-MAJOR:        Thank you.      And I'll

   4            try to speak slower and clearer.

   5    BY MS. NELSON-MAJOR:

   6            Q.        My question is:        What were the roles of
   7    the people from TDOC that you met with before deciding

   8    to serve as the Physician?

   9            A.        Administrative roles.

  10            Q.        Did you meet with the Warden of Riverside

  11    Prison?

  12            A.        Not prior to.

  13                      MR. SUTHERLAND:        If you know the roles of
  14            the persons you can identify the role, the

  15            specific role, but not give a name.

  16                      THE WITNESS:       All right.

  17                      MR. SUTHERLAND:        Or if you know their

  18            title.

  19                      THE WITNESS:       Are you waiting?

  20    BY MS. NELSON-MAJOR:

  21            Q.        I'm sorry.      Go ahead.
  22            A.        Are you waiting on me?

  23            Q.        I am.

  24            A.        I'm sorry, is there a question?

  25                      MS. NELSON-MAJOR:        Yes.     And

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   1            Mr. Sutherland, because these individuals are

   2            actually part of the administration and not part

   3            of the team responsible for carrying out

   4            executions, I don't believe that the names or the

   5            titles of the individuals from TDOC who met with

   6            the Physician would be subject to the
   7            confidentiality order.

   8                      Would it be okay if the Physician went

   9            ahead and named those names?           I don't see how that

  10            implicates the confidentiality order.

  11                      MR. SUTHERLAND:        I'm going to instruct

  12            the witness to identify the roles, if he knows, or

  13            the position of those individuals, based on the
  14            protective order.

  15                      So if you know the roles to the other

  16            people that you spoke with prior to entering into

  17            the agreement, if you can state those roles.

  18                      THE WITNESS:       Tony Parker, Commissioner

  19            of TDOC.

  20                      MR. SUTHERLAND:        And if there's anybody

  21            else, if you can state what their role is but not
  22            give their name.

  23                      THE WITNESS:       Understood.

  24                      MR. SUTHERLAND:        Is that the only person

  25            that you spoke with, other than Mr. Dotson?

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   1                      THE WITNESS:       Yes.

   2    BY MS. NELSON-MAJOR:

   3            Q.        And during that conversation with

   4    Commissioner Parker, did you agree to serve as the

   5    Physician?

   6            A.        I don't recall exactly.
   7            Q.        Did you ask Mr. Parker any questions?

   8            A.        Again, I do not recall the specifics of

   9    the conversation.

  10            Q.        How many executions have you attended in

  11    Tennessee?

  12            A.        I don't know the exact number.

  13            Q.        And you stated a moment ago that you
  14    don't specifically recall what was discussed during

  15    that meeting.      Do you have a general recollection of

  16    the topics that you might have discussed?

  17            A.        Only in a general sense, if I would be

  18    willing to function as the Physician.

  19            Q.        Did you discuss during that meeting the

  20    drugs that Tennessee uses in lethal injection?

  21            A.        I don't recall.
  22            Q.        And since signing on as the Physician,

  23    have you attended both lethal injection and

  24    electrocution executions?

  25            A.        Yes.

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   1            Q.        Are you aware of an execution that TDOC

   2    has conducted since you came on board that you did not

   3    attend as the Physician?

   4            A.        I'm not aware of it, no.

   5            Q.        Are you aware of whether there's another

   6    individual who also serves as the Physician or provider
   7    for TDOC?

   8            A.        No.

   9            Q.        At any point in time, did you have a

  10    conversation with someone from the general counsel's

  11    office about serving as Physician or provider?

  12            A.        Not that I recall.

  13            Q.        Do you receive compensation for serving
  14    as the Physician?

  15            A.        Yes.

  16            Q.        How much do you receive?

  17            A.        $3,000.

  18            Q.        $3,000 per execution?

  19            A.        Yes.

  20            Q.        Did you negotiate that rate with TDOC?

  21                      MR. SUTHERLAND:        Objection.
  22                      THE WITNESS:       No.

  23    BY MS. NELSON-MAJOR:

  24            Q.        Who did you discuss your compensation

  25    with before agreeing to be the Physician, without --

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   1                      MS. NELSON-MAJOR:        You can go ahead.

   2            Sorry, Mr. Sutherland.

   3                      MR. SUTHERLAND:        I was saying, you can

   4            identify generally the role of the person without

   5            identifying them.

   6                      THE WITNESS:       No one.
   7    BY MS. NELSON-MAJOR:

   8            Q.        How did you learn that you would be --

   9    you were to be compensated $3,000 per execution?

  10            A.        When I signed the contract.

  11            Q.        Has that rate changed at any point in

  12    time?

  13            A.        If you asked me has it changed at any
  14    point in time, the answer is "No."

  15                      (Exhibit No. 80 marked.)

  16    BY MS. HAYDEN-MAJOR:

  17            Q.        Please pull up Exhibit 80 -- eight-zero.

  18                      MR. SUTHERLAND:        Ms. Nelson-Major, I

  19            provided the Physician with a paper copy of that

  20            this morning.      Everything else is on a thumb drive

  21            but that -- but that one, so it may not be
  22            numbered.

  23                      It's the only -- it's the only paper

  24            exhibit that was provided.

  25                      THE WITNESS:       I have the paper in front

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   1            of me.

   2    BY MS. NELSON-MAJOR:

   3            Q.        Do you recognize this document?

   4            A.        Yes.

   5            Q.        What is it?

   6            A.        An agreement between the Tennessee
   7    Department of Correction and the Physician.

   8            Q.        Is that -- are you referring to yourself

   9    when you say "Physician?"

  10            A.        Yes.

  11            Q.        Did you sign this contract?

  12            A.        Yes.

  13            Q.        And when did you sign it?
  14            A.        2/20/2018.

  15            Q.        When you signed this agreement, did you

  16    know which methods of execution TDOC was using to carry

  17    out executions?

  18            A.        No.

  19            Q.        You didn't ask?

  20            A.        No.

  21            Q.        Has TDOC in fact paid you $3,000 for each
  22    of the executions at which you served as the Physician?

  23            A.        Yes.

  24            Q.        If you could look at Paragraph B, which

  25    states:      "TDOC agrees to the following," and I'm

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   1    looking at No. 3 underneath B, which states:

   2                      "In the event the provider is called upon

   3                      to perform his service and a stay of

   4                      execution is granted the inmate, the

   5                      provider will be compensated at the sum of

   6                      $125 per hour.       This will be an hourly rate
   7                      to include travel time and time waiting and

   8                      preparing for the execution.            This same

   9                      rate shall apply to any meetings to discuss

  10                      procedures."

  11                      What is meant by "meetings to discuss

  12    procedures?"

  13                      MR. SUTHERLAND:        Object to form.       You can
  14            answer.

  15                      THE WITNESS:       Some prior procedures where

  16            we went through all the protocols that were to be

  17            used were practiced.

  18    BY MS. NELSON-MAJOR:

  19            Q.        When you said "when we went through prior

  20    protocols to be used," who is "we?"

  21                      MR. SUTHERLAND:        Don't identify anyone by
  22            name, just that you can describe what you're

  23            talking about.

  24                      THE WITNESS:       The team that was to be

  25            involved in the procedure would have practice

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   1            sessions.

   2    BY MS. NELSON-MAJOR:

   3            Q.        How many such meetings did you attend?

   4            A.        Two, that I recall.

   5            Q.        And when did those meetings occur?

   6            A.        Within the past three years.
   7            Q.        Did they occur in 2018?

   8                      MR. SUTHERLAND:        Objection.

   9                      THE WITNESS:       The first --

  10                      MR. SUTHERLAND:        You can answer.

  11                      THE WITNESS:       The first one occurred

  12            prior to any execution.

  13    BY MS. NELSON-MAJOR:
  14            Q.        And when did the second one occur?

  15            A.        Approximately six to eight months ago.

  16            Q.        The meeting that occurred prior to an

  17    execution that you mentioned, do you mean prior to any

  18    execution at which you attended as Physician?

  19            A.        Yes.

  20            Q.        What happened at that meeting?

  21            A.        Their protocol was reviewed and equipment
  22    was examined, made sure it was adequate.               And

  23    suggestions were made.

  24            Q.        How many people, approximately, were at

  25    that meeting?

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   1            A.        It consisted of the entire team of

   2    approximately eight to ten individuals.

   3            Q.        Did you lead that meeting?

   4            A.        No.

   5            Q.        Did someone from TDOC administration lead

   6    that meeting?
   7            A.        No.

   8            Q.        Did someone involved in carrying out the

   9    actual execution lead that meeting?

  10            A.        Yes.

  11            Q.        Without naming their name, what was their

  12    title?

  13            A.        I can't even give you the title.
  14            Q.        Were they an EMT responsible for setting

  15    an IV line?

  16            A.        No.

  17            Q.        Were they the Executioner, who prepares

  18    and administers the drugs?

  19            A.        I don't know who prepares and administers

  20    the drugs.

  21            Q.        I'm sorry, I had trouble hearing.
  22            A.        I don't know who prepares and administers

  23    the drugs.

  24            Q.        What was your understanding of the role

  25    that person who led the meeting plays in the

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   1    executions, or did you not have an understanding?

   2            A.        He just appeared to be the leader of the

   3    group.

   4            Q.        But you're unaware of the role that

   5    person serves during an execution?

   6            A.        I'm unaware of what his official title
   7    is.

   8            Q.        Are you also unaware of what he does

   9    during an execution?

  10            A.        Yes.

  11            Q.        And you said one of the things you did

  12    was to review the protocol.           How did you review the

  13    protocol?
  14            A.        Went through it with them and suggested

  15    changes where appropriate.

  16            Q.        And when you say "went through it," did

  17    you go through it page by page?

  18            A.        I don't recall.

  19            Q.        Did someone describe orally the protocols

  20    that are followed during an execution?

  21            A.        No, they were reviewed on paper; but page
  22    by page, I don't recall.

  23            Q.        And you said suggestions were made.              By

  24    whom, without naming names?

  25            A.        By me.

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   1            Q.        And what changes did you suggest?

   2            A.        Suggested adding if a peripheral vein

   3    access couldn't be obtained to insert a central venous

   4    line.

   5            Q.        Is that the only change you suggested?

   6            A.        Yes.
   7            Q.        And why did you make that suggestion?

   8            A.        Not knowing any of the inmates' history,

   9    if they were unable to obtain IV access to a peripheral

  10    venous system maybe scarred from years of drug abuse.

  11    And a central venous line seemed like a more reasonable

  12    suggestion.

  13            Q.        More reasonable suggestion than what?
  14            A.        A cutdown.

  15            Q.        And after you made that suggestion, what

  16    was the response?

  17            A.        The equipment is there and available now.

  18            Q.        The equipment to perform a central venous

  19    line?

  20            A.        Yes.

  21            Q.        And what equipment would that be?
  22            A.        There are standardized kits from the

  23    pharmacological/surgical businesses.

  24            Q.        And again, without naming names, who

  25    informed you that there was a kit on hand to perform a

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   1    central venous line?

   2            A.        Could you repeat the question?

   3            Q.        You stated that one of the meeting

   4    participants indicated there was equipment on hand to

   5    insert a central venous line.            Who informed you that

   6    that equipment was available?
   7                      MR. SUTHERLAND:        Don't identify anybody

   8            by name.     You can state what their role is, if you

   9            know.

  10                      THE WITNESS:       After the suggestion was

  11            made, the next time I attended a procedure the

  12            equipment was shown to me so I knew it was

  13            available.
  14    BY MS. NELSON-MAJOR:

  15            Q.        When you say "procedure," do you mean an

  16    execution?

  17            A.        Yes.

  18            Q.        Was that at the first execution you

  19    attended?

  20            A.        Can you define the question?

  21            Q.        You were shown a standardized kit, you
  22    said, at an execution.         I'm asking you, was -- were you

  23    shown that kit at the first execution you attended?

  24            A.        I'm assuming it was present after the

  25    first practice session.

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   1            Q.        I'm asking about when you were first

   2    shown that kit.       You said you were shown the kit at an

   3    execution.

   4            A.        No, ma'am.      I gave the suggestion at the

   5    practice session, and then the next time I was there I

   6    was shown the kit.        So since the practice session
   7    happened before the execution, it would have been

   8    available for the first execution.

   9            Q.        I'm still talking about this first

  10    meeting in 2018.        You said you reviewed equipment.

  11    What equipment did you review?

  12            A.        The medical equipment they have for the

  13    execution.
  14            Q.        And what specifically was that equipment?

  15            A.        They have a list and the protocol; and

  16    it's up to date, other than the central line set is not

  17    included.

  18            Q.        You said the central line is not included

  19    on that list?

  20            A.        No.

  21            Q.        Besides the suggestion to perform a
  22    central venous line instead of a cutdown, did you make

  23    other suggestions?

  24                      MR. SUTHERLAND:        Object to the form.        You

  25            can answer.

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   1                      THE WITNESS:       Not that I recall.

   2    BY MS. NELSON-MAJOR:

   3            Q.        Was it decided at that meeting that a

   4    central venous line would be the first choice of

   5    procedure if peripheral IV access was not obtained?

   6                      MR. SUTHERLAND:        Object to the form.        You
   7            can answer, if you know.

   8                      THE WITNESS:       I think it was left to the

   9            Physician's discretion.

  10    BY MS. NELSON-MAJOR:

  11            Q.        And then you said after this meeting in

  12    2018 you attended a practice session.               How close in

  13    time was this practice session to that initial 2018
  14    meeting?

  15            A.        I don't recall.

  16            Q.        How many practice sessions have you

  17    attended since signing on as the Physician?

  18            A.        Two.

  19            Q.        And the first practice session was before

  20    you attended an actual execution?

  21            A.        Yes.
  22            Q.        And when did the second practice session

  23    you attended occur?

  24            A.        Approximately six to eight months ago.

  25            Q.        And you initially said that you attended

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   1    two protocol review meetings; one -- the second one,

   2    which was six to eight months ago.             Is that the same

   3    meeting as the practice session that you just referred

   4    to?

   5            A.        Yes.

   6            Q.        Without naming names, who was at that
   7    second practice session?

   8            A.        All members of the team, including the

   9    Warden and the Assistant Warden.

  10            Q.        Were the Warden and the Assistant Warden

  11    at that first meeting in 2018?

  12            A.        I don't recall.

  13            Q.        Who invited you to attend these two
  14    practice sessions?

  15                      MR. SUTHERLAND:        Don't identify anyone by

  16            name; but you can state -- you can identify them

  17            by title, if you know.

  18                      THE WITNESS:       It would be administration

  19            at TDOC would let me know by either call or text

  20            message.

  21    BY MS. NELSON-MAJOR:
  22            Q.        Was it the Warden?

  23            A.        No.

  24            Q.        Was it the Assistant Warden?

  25            A.        No.

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   1            Q.        Was it Mr. Dotson?

   2            A.        Yes.

   3            Q.        And when Mr. Dotson called or texted you,

   4    what did he say that the meetings would be about?

   5            A.        He would just let me know if there was

   6    going to be a practice session or the real thing, and
   7    when it was scheduled.

   8            Q.        Did you ever text about matters other

   9    than scheduling?

  10            A.        Could you repeat, please?

  11            Q.        Did you and Mr. Dotson ever text about

  12    anything other than scheduling?

  13            A.        No.
  14            Q.        And when you say "a practice session," do

  15    you mean a rehearsal for a lethal injection execution?

  16            A.        Yes.

  17            Q.        At the second practice session, which you

  18    said occurred six to eight months ago, did you also

  19    review the protocol?

  20            A.        I don't recall exactly, but I generally

  21    do at the practice sessions.
  22            Q.        Did you also make suggestions at this

  23    practice session?

  24            A.        No.

  25            Q.        Did you discuss your suggestion that the

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   1    first alternative choice for IV access be central

   2    venous line access?

   3                      MR. SUTHERLAND:        Objection to the form.

   4            You can answer.

   5                      THE WITNESS:       Again, central venous

   6            access is a possible alternative to a cutdown.                 It
   7            depends on the situation.

   8    BY MS. NELSON-MAJOR:

   9            Q.        Did you discuss the possibility of

  10    performing a central venous access procedure at that

  11    second rehearsal?

  12            A.        No.

  13            Q.        Were the Warden and Assistant Warden
  14    present when the protocol was reviewed at that second

  15    session?

  16            A.        I don't recall the practice session had

  17    been limited to what the Physician would do during the

  18    real scenario, so I was only in the room for five

  19    minutes.

  20            Q.        So when you say you were only in the room

  21    for five minutes, which room are you referring to?
  22            A.        The execution chamber.

  23            Q.        Was there any meeting held prior to

  24    starting the rehearsal?

  25            A.        I don't recall specifically.

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   1            Q.        Do you recall whether there was a meeting

   2    held after the rehearsal?

   3            A.        Again, I don't recall.

   4                      MS. NELSON-MAJOR:        We've been going for a

   5            bit over an hour.        Do you want to take a

   6            ten-minute break and we can reconvene at 20 after?
   7                      MR. SUTHERLAND:        Yeah, that'll be fine.

   8                      THE VIDEOGRAPHER:        We're off record.        The

   9            time is 11:07 a.m.

  10                      (Recess at 11:07 a.m. to 11:19 a.m.)

  11                      THE VIDEOGRAPHER:        We're back on record

  12            at 11:19 a.m.

  13    BY MS. NELSON-MAJOR:
  14            Q.        Physician, I'm still looking at Exhibit

  15    80, Paragraph B, and No. 4 under Paragraph B, which

  16    provides:     "TDOC will process payment for services

  17    rendered upon receipt of invoice."

  18                      Have you submitted invoices to TDOC for the

  19    services you've performed as Physician?

  20            A.        No.

  21            Q.        Do you tell TDOC the number of hours you
  22    work under this contract in some other way?

  23            A.        No.

  24            Q.        How does TDOC know how much to pay you?

  25                      MR. SUTHERLAND:        Object to the form.        You

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   1            can answer.

   2                      THE WITNESS:       That would be a question

   3            for them.

   4    BY MS. NELSON-MAJOR:

   5            Q.        Has TDOC paid you $125 per hour for the

   6    meetings that we just discussed?
   7            A.        I've never submitted an invoice.

   8            Q.        My question was:        Has TDOC paid you for

   9    participation in those meetings we just discussed?

  10            A.        Since I haven't submitted any invoices,

  11    no.

  12            Q.        So the only payment TDOC has provided to

  13    you is the $3,000 per execution?
  14            A.        Yes.

  15            Q.        Why haven't you submitted invoices for

  16    your time at the meetings?

  17            A.        Personal choice.

  18            Q.        And what are the reasons for that

  19    personal choice?

  20            A.        They're personal.

  21            Q.        Can you explain to me those personal
  22    reasons?

  23            A.        No.

  24            Q.        Why not?

  25            A.        I don't think it has anything to do with

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             VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    43


   1    this.    I have a friend in Nashville.              How about that?

   2            Q.        I posed a question to you, and you're

   3    required to answer it unless instructed to not answer

   4    by Mr. Sutherland.

   5            A.        What's the question?

   6            Q.        I'm sorry, I couldn't hear you.
   7            A.        What's the question?

   8            Q.        The question is:        What are the reasons

   9    you have not billed TDOC for your time spent discussing

  10    procedures at the meetings?

  11            A.        Did not feel like it was justified.

  12            Q.        You felt like not submitting your

  13    invoices was justified?
  14            A.        Yes.

  15            Q.        Explain that to me.

  16            A.        I'd done nothing of service.

  17            Q.        You did nothing of service?

  18            A.        Correct.

  19            Q.        But you feel differently about the $3,000

  20    per execution?

  21                      MR. SUTHERLAND:        Object to the form.        You
  22            can answer.

  23                      THE WITNESS:       A medical opinion is

  24            offered.

  25    BY MS. NELSON-MAJOR:

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             VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    44


   1            Q.        I'm sorry, state that again.            I couldn't

   2    hear your answer.

   3            A.        A medical opinion is offered.

   4            Q.        And what medical opinion is offered?

   5                      MR. SUTHERLAND:        Object to the form.        You

   6            can answer.
   7                      THE WITNESS:       That death has occurred and

   8            the time of death.

   9    BY MS. NELSON-MAJOR:

  10            Q.        Are you providing these services to TDOC

  11    as a favor to a personal connection of yours?

  12            A.        No.

  13            Q.        If you're not providing these services as
  14    a favor to a personal connection, why are you doing

  15    this work pro bono then?

  16            A.        Because I also work for farmers for free.

  17    I don't charge them.

  18            Q.        You provide medical care to farmers for

  19    free?    Is that what you're saying?

  20            A.        No, I work on their farms for free.

  21            Q.        What sorts of work do you provide for
  22    farmers?

  23            A.        Drive semi trucks, big tractors.             Plant

  24    fields.

  25            Q.        Do you provide other medical services pro

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             VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    45


   1    bono outside of your work for TDOC?

   2            A.        Yes.

   3            Q.        In what context?

   4            A.        Patient calls.

   5            Q.        Prior to joining as Physician, did you

   6    ever have a conversation with the prior Physician who
   7    performed this role previous to your involvement?

   8            A.        I was unaware of any other Physician.

   9            Q.        Does anyone report to you in your role as

  10    Physician?

  11            A.        Where?

  12            Q.        Does anyone report to you in your role as

  13    Physician in connection with executions in Tennessee?
  14            A.        Report to me, no.

  15            Q.        Do you report to anyone else in your

  16    capacity as Physician?

  17            A.        No.

  18            Q.        Have you ever attended an execution

  19    conducted in a state other than Tennessee?

  20            A.        No.

  21            Q.        Have you provided training to anyone in
  22    conjunction with an execution in another state?

  23            A.        No.

  24            Q.        Have you discussed proposed changes to

  25    Tennessee's lethal injection protocol with anyone

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             VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    46


   1    affiliated with TDOC?

   2            A.        Please repeat.

   3            Q.        Have you ever had conversations with

   4    anyone affiliated with TDOC about proposed changes to

   5    the execution protocols?

   6            A.        If you're talking about the drug
   7    protocol, no.

   8            Q.        So you've never had a discussion with

   9    anyone affiliated with TDOC about which drugs should be

  10    used?

  11            A.        No.

  12            Q.        Or how to obtain drugs to be used?

  13            A.        Or how to obtain?
  14            Q.        Yes.

  15            A.        I may have had a discussion with

  16    Commissioner Parker at one time.

  17            Q.        When was that conversation?

  18            A.        Three or four years ago.

  19            Q.        When you say "Three or four years ago,"

  20    did you have conversations with people affiliated with

  21    TDOC prior to signing that contract to become the
  22    Physician?

  23                      You can answer.

  24            A.        We have -- we have a prison in our

  25    county, so I've had conversations with plenty of TDOC

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             VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    47


   1    personnel.

   2            Q.        My question was:        Prior to becoming the

   3    Physician in executions, did you have conversations

   4    about executions with anyone affiliated with TDOC?

   5            A.        No.

   6            Q.        You said you had -- you might have had a
   7    conversation with Commissioner Parker about how to

   8    obtain drugs for use in executions.

   9            A.        Yes.

  10            Q.        What was the nature of that conversation?

  11                      MR. SUTHERLAND:        Don't state any

  12            information that would lead -- could reasonably

  13            lead to the identification of any source of lethal
  14            injection chemicals.         Otherwise, you can answer.

  15                      THE WITNESS:       At that time, one of the

  16            three drugs was in short supply nationwide, and

  17            the conversation was had about whether I could

  18            help in obtaining any pharmaceuticals.

  19    BY MS. NELSON-MAJOR:

  20            Q.        Which drug was in short supply at that

  21    time?
  22            A.        I don't recall.

  23            Q.        Do you recall whether it was

  24    pentobarbital?

  25            A.        I don't recall.

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             VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    48


   1                      MR. SUTHERLAND:        Object to the form,

   2            based on his prior answer.

   3    BY MS. NELSON-MAJOR:

   4            Q.        And when Commissioner Parker asked you

   5    that question, what was your response?

   6            A.        I would have to research it.
   7            Q.        Research what?

   8            A.        Whether it could be obtained from an

   9    alternative source.

  10            Q.        And did you in fact do that research?

  11            A.        I'm sure I did.        I don't recall it

  12    specifically.

  13            Q.        Did this conversation occur prior to
  14    attending an actual execution for the first time?

  15            A.        I don't recall.

  16            Q.        And did you relay your efforts to

  17    Commissioner Parker?

  18            A.        I'm sure we had further discussion, yes.

  19            Q.        And what were the results of your

  20    efforts?

  21            A.        I can't recall.
  22                      MR. SUTHERLAND:        Again, you can -- you

  23            can generally respond without any -- providing any

  24            information that would -- that could reasonably

  25            lead to the identification of a source.

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             VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    49


   1    BY MS. NELSON-MAJOR:

   2            Q.        You don't recall whether you were

   3    searching for active pharmaceutical ingredients for

   4    TDOC?

   5            A.        No.    At one point, a paper prescription

   6    was generated for TDOC; however, I don't recall for
   7    which drug and where it was to be sent.

   8            Q.        Did you generate that paper prescription?

   9            A.        Yes.

  10            Q.        Was it a sample prescription?

  11            A.        I'm sorry?

  12            Q.        Was the prescription for a particular

  13    inmate?
  14            A.        No.

  15            Q.        Was it a template for future

  16    prescriptions?

  17            A.        No.

  18            Q.        Then what was it?

  19            A.        A one-time paper prescription.

  20            Q.        Was it for one particular drug?

  21            A.        Was it for a drug?
  22            Q.        Was it for one single drug?

  23            A.        As I recall.

  24            Q.        Which drug?

  25            A.        I don't recall that.

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             VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    50


   1            Q.        Was it an amount for use in a single

   2    execution?

   3            A.        I don't recall.

   4            Q.        How did you know which drug to write the

   5    prescription for?

   6            A.        I would have had to have been informed of
   7    that.

   8            Q.        As a doctor, can you write a prescription

   9    that's not under a particular patient's name?

  10            A.        At that time, yes.

  11            Q.        Did that change at some point?

  12            A.        Yes.

  13            Q.        How did it change?
  14            A.        Electronic health records.

  15            Q.        What about electronic health records

  16    changed the process for writing a prescription for a

  17    patient or not?

  18            A.        A prescription is generated with

  19    electronic health records.           It has to have that

  20    patient's name or institution listed as a patient for

  21    the electronic health records.
  22            Q.        Did Commissioner Parker ask you to write

  23    this prescription?

  24            A.        I don't recall.

  25            Q.        Did you provide that prescription to a

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             VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    51


   1    pharmacy?

   2            A.        I don't recall.

   3            Q.        Did you have this conversation -- a

   4    conversation about the prescription with Mr. Dotson?

   5            A.        I don't recall.

   6            Q.        Do you keep copies of prescriptions that
   7    you write in your routine medical practice?

   8            A.        No.

   9            Q.        Returning to the conversation you had

  10    with Commissioner Parker in 2018, did you locate a

  11    source of drugs for TDOC?

  12            A.        I don't recall.

  13            Q.        Do you recall how you looked for a
  14    potential source of drugs for TDOC?

  15            A.        I'm sure, like everyone, I Googled it.

  16            Q.        You Googled it?

  17            A.        I'm sure.      I don't recall exactly.

  18            Q.        Was it a one-time thing, your search for

  19    an alternative source?

  20            A.        Yes.

  21            Q.        You said you had multiple conversations
  22    with people affiliated with TDOC because there's a

  23    prison in your county.         Can you explain to me how those

  24    conversations have occurred?

  25            A.        I --

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   1                      MR. SUTHERLAND:        I'm going to -- I'm

   2            going to -- so I'm going to object, unless they

   3            have something to do with your contract.               I'm

   4            going to object to anything that's going to lead

   5            to the identification of any prison location,

   6            state or otherwise.
   7                      So don't answer the question, to the

   8            extent that it causes you to identify any specific

   9            prison or location or personnel.

  10                      THE WITNESS:       Gotcha.

  11    BY MS. NELSON-MAJOR:

  12            Q.        You can answer.

  13            A.        And the question?
  14            Q.        Okay.    You said you've had conversations,

  15    multiple conversations, with people at TDOC because

  16    there's a prison in your county.             Can you explain to me

  17    what those conversations are about?

  18            A.        Normal patient-physician conversations.

  19            Q.        Do you provide medical services to TDOC

  20    other than your contract as Physician?

  21            A.        No.
  22                      MR. SUTHERLAND:        I'm going to -- yeah.

  23            I'm going to object and instruct the witness not

  24            to answer.      He's already answered "No."

  25    BY MS. NELSON-MAJOR:

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             VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    53


   1            Q.        Do you provide care to inmates outside of

   2    TDOC?

   3            A.        No.

   4            Q.        What did you discuss during those

   5    conversations with TDOC?

   6                      MR. SUTHERLAND:        Objection to the form,
   7            based on his prior answer, which was a general

   8            patient care question.

   9    BY MS. NELSON-MAJOR:

  10            Q.        You can answer.

  11            A.        General patient-physician conversations.

  12            Q.        If you're not providing medical care to

  13    inmates, how do general patient-physician conversations
  14    occur?

  15            A.        With correctional officers that I've

  16    seen.

  17            Q.        Do you have any other contracts with

  18    TDOC --

  19            A.        No.

  20            Q.        -- other than the one we've reviewed?

  21            A.        No.
  22            Q.        And in this other capacity, had you ever

  23    had conversations about executions with anyone

  24    affiliated with TDOC?

  25            A.        No.

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             VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    54


   1            Q.        The conversation you had with

   2    Commissioner Parker, was that in person or --

   3            A.        I'm sorry?      The conversation with who?

   4            Q.        With Commissioner Parker about finding an

   5    alternative source for execution drugs.               Was that in

   6    person?
   7            A.        No.

   8            Q.        Was it over email?

   9            A.        No.

  10            Q.        Was it on the telephone?

  11            A.        Telephone, yes.

  12            Q.        Have you ever had a conversation with

  13    anyone affiliated with TDOC about how to store the
  14    lethal injection chemicals?

  15            A.        No.

  16            Q.        What about how to prepare the lethal

  17    injection chemicals for use in execution?

  18            A.        No.

  19            Q.        What about establishing IV access?

  20            A.        Yes, I've had a discussion.

  21            Q.        Other than the discussion at that initial
  22    rehearsal in 2018, have you had other conversations

  23    about establishing IV access?

  24            A.        No.

  25            Q.        Have you had conversations with anyone

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             VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    55


   1    affiliated with TDOC about how to perform the

   2    consciousness check?

   3            A.        No.

   4            Q.        What about the method used to pronounce

   5    death?

   6            A.        No.
   7            Q.        Have you had conversations with anyone

   8    else affiliated with TDOC about another topic related

   9    to executions that I have not listed?

  10            A.        I'm not sure how to answer that, but no.

  11            Q.        Can you please turn to Exhibit 1.             At the

  12    beginning of the deposition, you stated you reviewed a

  13    lethal injection protocol.           Is Exhibit 1 the document
  14    that you reviewed?

  15            A.        It's certainly similar.

  16            Q.        When did you first see this document?

  17                      MR. SUTHERLAND:        Object to the form.        You

  18            can answer.

  19                      THE WITNESS:       It would be at the first

  20            practice session.

  21    BY MS. NELSON-MAJOR:
  22            Q.        And without naming names, who provided

  23    this document to you?

  24            A.        I don't recall.

  25            Q.        Approximately how many times have you

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             VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    56


   1    reviewed this document?

   2            A.        Twice.

   3            Q.        You said "Twice?"

   4            A.        Yes, ma'am.

   5            Q.        So once was at the practice session in

   6    2018.    And when was the other time?
   7            A.        At the practice session six to eight

   8    months ago.

   9            Q.        Were you asked to review drafts of this

  10    document by anyone?

  11            A.        Was I asked to review what?

  12            Q.        Drafts.

  13            A.        A draft?
  14            Q.        Yes.

  15            A.        No.

  16            Q.        So you didn't write any portion of the

  17    lethal injection protocol?

  18            A.        Was I responsible for any of its

  19    generation?

  20            Q.        I asked:     Did you write any portion of

  21    this protocol?
  22            A.        No.

  23            Q.        And did you make any edits to any portion

  24    of this protocol?

  25            A.        I would have to go to the page about

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             VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    57


   1    having access.       I don't have another page here.

   2            Q.        If you'd turn to Page 42, you can tell me

   3    whether that is the section you were looking for.

   4            A.        Okay.    42?

   5            Q.        Yes.

   6            A.        Okay.    Yes.
   7            Q.        You provided edits to this section?

   8            A.        No, this is the section where we had --

   9    this was added about the possibility of a central

  10    venous insertion.

  11            Q.        I'm sorry, can you repeat your answer?

  12    There's a fair amount of static right now.

  13            A.        This would be where it was added that the
  14    Physician may choose an alternative method.

  15            Q.        Did you provide a written instruction to

  16    someone to change that language in the protocol?

  17            A.        No, it was suggested.

  18            Q.        Did someone indicate to you that the

  19    protocol would be changed to reflect that suggestion?

  20            A.        Not specifically.

  21            Q.        Generally?
  22            A.        Since it showed up later, I assume

  23    someone paid attention to it.

  24            Q.        So you assume that the protocol had

  25    been changed in some way based on the fact that you

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             VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    58


   1    received --

   2            A.        The necessary --

   3            Q.        -- this document?

   4            A.        Yes.

   5            Q.        When you reviewed the protocol during the

   6    second rehearsal you attended, did you review the
   7    protocol to see whether that had been added to the

   8    protocol?

   9            A.        No, I did not.

  10            Q.        But you assumed that it had been?

  11            A.        I assumed that I still had the

  12    alternative of performing that procedure.

  13            Q.        Other than the suggestion regarding the
  14    central line, did you make any other edits to a version

  15    of the protocol?

  16            A.        No.

  17            Q.        Did anyone consult with you in connection

  18    with the drafting of this protocol?

  19            A.        No.

  20            Q.        No one asked you for your input on what

  21    the Physician role should entail?
  22            A.        No one asked for my advice, no.

  23            Q.        Did anyone ask for your advice on how to

  24    prevent pain and suffering during an execution?

  25                      MR. SUTHERLAND:        Object to the form.        You

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             VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    59


   1            can answer.

   2                      THE WITNESS:       No.

   3    BY MS. NELSON-MAJOR:

   4            Q.        Can you please turn to Page 19.

   5            A.        Page 19?

   6            Q.        That's right.       Have you seen this page of
   7    the protocol before?

   8            A.        Yes.

   9            Q.        And what is it?

  10            A.        Defines the Physician's primary role.

  11            Q.        And "To pronounce death" is listed as

  12    your primary role during an execution?

  13            A.        Yes.
  14            Q.        Is that consistent with your

  15    understanding of your primary role during an execution?

  16            A.        Yes.

  17            Q.        Do you have any other roles?

  18            A.        Only if no intravenous access can be

  19    obtained.

  20            Q.        So Duty No. 1 states:             "To be present at

  21    the time of execution in the capital punishment
  22    garage."

  23                      On the day of execution, what time do you

  24    arrive?

  25            A.        Before 5:00.

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             VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    60


   1            Q.        Why 5:00?

   2            A.        That's the designated time we go over to

   3    Riverbend.

   4            Q.        Did someone at TDOC convey that to you?

   5            A.        Yes.

   6            Q.        Do you bring anything with you to an
   7    execution?

   8            A.        Two stethoscopes.

   9            Q.        And why do you bring two stethoscopes?

  10            A.        One is a normal stethoscope; and the

  11    other is electronic, which magnifies heart sounds 27

  12    times.

  13            Q.        Does TDOC provide you with any other
  14    supplies?

  15            A.        No.

  16            Q.        And once you arrive, where do you go?

  17            A.        There's an anteroom adjacent to the

  18    garage.

  19            Q.        And at some point do you leave the

  20    anteroom to go to the garage?

  21            A.        After the execution is over.
  22            Q.        So you -- where are you during the actual

  23    execution, the anteroom or the garage?

  24            A.        In the anteroom.

  25            Q.        Is there a phone in the anteroom?

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             VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    61


   1            A.        That, I don't know.

   2            Q.        Before reporting to the capital

   3    punishment garage, do you speak with anyone else

   4    involved in carrying out the executions?

   5            A.        The team gathers over in a place in the

   6    previous penitentiary block.
   7            Q.        And when you say "team," without naming

   8    names, who is that?        Their roles?

   9            A.        The IV Team, the security detail, the

  10    Assistant Commissioner.          The Medical Examiner's people.

  11            Q.        Is there some sort of discussion that

  12    happens at that meeting?

  13            A.        With regard to the execution, no.
  14            Q.        Is there anyone else with you in the

  15    anteroom?

  16            A.        The Warden and Assistant Warden will

  17    usually visit.

  18            Q.        At what point in the process do they

  19    visit?

  20            A.        Prior to.

  21            Q.        And what do you discuss when they visit
  22    you in the anteroom?

  23            A.        Generalized conversation; "How are you?

  24    How are you doing?"

  25            Q.        Do you discuss the execution?

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             VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    62


   1            A.        No.

   2            Q.        Besides the Warden and Assistant Warden,

   3    does anyone else wait in the anteroom with you?

   4            A.        Other than the members of the team I

   5    mentioned.

   6            Q.        The members of the team wait with you in
   7    the anteroom during the execution?

   8            A.        Yes.

   9            Q.        Which members, without naming names, wait

  10    with you in the anteroom?

  11            A.        The Assistant Commissioner, the Medical

  12    Examiner's team, the IV Team.            The prison's team.

  13            Q.        Is this all occurring before the
  14    execution is underway?

  15            A.        Yes.

  16            Q.        And once the execution is underway, where

  17    do you go?

  18            A.        I stay in that room.

  19            Q.        Does everyone else leave?

  20            A.        No.

  21            Q.        So all those people remain with you in
  22    the anteroom for the duration of the execution?

  23            A.        Yes.

  24            Q.        Including the IV Team?

  25            A.        The IV Team goes into the execution

                                   Gibson Court Reporting

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             VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    63


   1    chamber when they're called.           They perform their

   2    procedure and then exit.

   3            Q.        And when they -- do they return to the

   4    anteroom after they're done?

   5            A.        Yes.

   6            Q.        And when they return, do they -- have
   7    they ever told you how -- how obtaining IV access went?

   8            A.        No.

   9            Q.        So you never discuss their efforts to

  10    obtain IV access?

  11            A.        No.    I would assume they would only

  12    discuss it with me if they had difficulties.

  13            Q.        Have you ever seen the Extraction Team
  14    transport the inmate to the execution chamber?

  15                      MR. SUTHERLAND:        Object to the form.        You

  16            can answer.

  17                      THE WITNESS:       Can you repeat the

  18            question?

  19    BY MS. NELSON-MAJOR:

  20            Q.        Have you ever seen the Extraction Team

  21    transport the inmate to the execution chamber?
  22            A.        No.

  23            Q.        Have you ever seen the Extraction Team

  24    secure the inmate to the gurney?

  25            A.        No.

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             VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    64


   1            Q.        Have you ever seen the IV Team insert IV

   2    catheters?

   3            A.        No.

   4            Q.        Why aren't you inserting IV catheters in

   5    the first instance?

   6                      MR. SUTHERLAND:        Object to the form.        You
   7            can answer.

   8                      THE WITNESS:       They have qualified

   9            emergent personnel who are doing it every day and

  10            more often than I am.

  11    BY MS. NELSON-MAJOR:

  12            Q.        In your general medical practice, how

  13    frequently do you attempt to achieve IV access?
  14            A.        Once every three months.

  15            Q.        And is that at a regular interval?

  16                      MR. SUTHERLAND:        Object to the form.        You

  17            can answer.

  18                      THE WITNESS:       I'm sorry?

  19    BY MS. NELSON-MAJOR:

  20            Q.        You said "Once every three months."              Is

  21    that an approximation of how often it occurs?
  22            A.        Absolutely.

  23            Q.        And is that peripheral IV access, for the

  24    most part?

  25            A.        Always.

                                   Gibson Court Reporting

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             VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    65


   1            Q.        Always?

   2            A.        Yes.

   3            Q.        Have you ever witnessed the preparation

   4    of the syringes for use in an execution?

   5            A.        No.

   6            Q.        Have you ever seen the Warden check an
   7    inmate for consciousness during an execution?

   8            A.        No.

   9            Q.        Is there a reason that you aren't

  10    performing the consciousness check?

  11                      MR. SUTHERLAND:        Object to the form.        You

  12            can answer.

  13                      THE WITNESS:       I wasn't asked.       It's not
  14            part of my role.

  15    BY MS. NELSON-MAJOR:

  16            Q.        Do you think you should be the person

  17    performing the consciousness check?

  18                      MR. SUTHERLAND:        Object to the form.        You

  19            can answer.

  20                      THE WITNESS:       I think any medical

  21            personnel could perform it.
  22    BY MS. NELSON-MAJOR:

  23            Q.        And when you say "any medical personnel

  24    could perform it," why is that your opinion?

  25            A.        We're using very rudimentary tests that

                                   Gibson Court Reporting

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             VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    66


   1    you can use in the field without complex machinery.

   2            Q.        And what is the minimum level of medical

   3    training that someone would need to have to perform

   4    that check?

   5                      MR. SUTHERLAND:        Object to the form.        You

   6            can answer.
   7                      THE WITNESS:       I don't have an opinion.

   8    BY MS. NELSON-MAJOR:

   9            Q.        And what does a consciousness check

  10    entail?

  11                      MR. SUTHERLAND:        Object to the form.        You

  12            can answer.

  13                      THE WITNESS:       It's a check basically
  14            doing a corneal reflex, a trapezius squeeze, a

  15            sternal rub, and shouting in the ear.

  16    BY MS. NELSON-MAJOR:

  17            Q.        You said -- can you say those again?              I

  18    lost the second one in the static.

  19            A.        Checking the corneal reflex, the

  20    trapezius squeeze, a sternal rub, and shouting their

  21    name in the eardrum -- or ears, excuse me.
  22            Q.        Is that how medical professionals are

  23    trained to conduct the consciousness check?

  24            A.        It's one of the many ways they are, yes.

  25            Q.        Is that how you were trained to conduct

                                   Gibson Court Reporting

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             VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    67


   1    the consciousness check?

   2            A.        If the situation required.

   3            Q.        And what are the other ways to assess

   4    consciousness?

   5            A.        You can stick people with needles.              Some

   6    people use towel clamps nn the earlobes.               You can take
   7    a hemostat and twist it between the toes.

   8                      But those are a little bit more cruel,

   9    shall we say.

  10                      MS. NELSON-MAJOR:        I just want to pause

  11            for a moment and see if Ms. Sansom was able to get

  12            that answer at all.

  13                      She's nodding, indicating that she was.
  14    BY MS. NELSON-MAJOR:

  15            Q.        And what is a corneal reflex?

  16            A.        It's basically where you get the finger

  17    close to the eye and the patient will blink.

  18            Q.        And how is a sternal rub performed?

  19            A.        How is it performed?

  20            Q.        Yes.

  21            A.        In this protocol, they drag their finger
  22    across the eyelashes.

  23            Q.        I'm asking about you listed four ways

  24    that consciousness is checked by medical professionals,

  25    and one of them you said was a sternal rub.                I was

                                   Gibson Court Reporting

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             VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    68


   1    asking about a sternal rub.

   2            A.        Oh, it's just rubbing the sternum.

   3            Q.        Then you listed three or four ways of

   4    assessing consciousness that you said might be more

   5    cruel.    Can you explain to me why those are more cruel

   6    than the other ways of assessing consciousness?
   7            A.        Because they cause actual pain.

   8            Q.        So they're more painful stimuli than the

   9    other four you listed?

  10            A.        Yes.

  11            Q.        Under what circumstances would you use

  12    those more painful methods of assessing consciousness?

  13            A.        I wouldn't.
  14            Q.        You wouldn't?

  15            A.        No.

  16            Q.        Are there circumstances in your medical

  17    practice where you perform consciousness checks?

  18            A.        No.

  19            Q.        Did you receive training in medical

  20    school about how to assess consciousness?

  21            A.        Since I've had a rotation in
  22    anesthesiology, I will reply "Yes."

  23            Q.        And are the methods for assessing levels

  24    of anesthesia different than the methods for assessing

  25    consciousness that you just outlined?

                                   Gibson Court Reporting

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             VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    69


   1            A.        No.

   2            Q.        So those would be the same methods you

   3    would use to assess whether a patient is under general

   4    anesthesia?

   5            A.        Yes.

   6            Q.        So a sternal rub, a corneal reflex, a
   7    trap squeeze, and shouting someone's name are

   8    sufficient ways to assess whether someone is under

   9    general anesthesia for surgery?

  10            A.        Not surgical anesthesia.

  11            Q.        What level of anesthesia are they

  12    sufficient to assess?

  13            A.        I'm not an anesthesiologist.            That's
  14    outside my level of expertise.

  15            Q.        How do you assess someone for surgical

  16    anesthesia, then?

  17                      MR. SUTHERLAND:        Object to the form.        You

  18            can answer if you know.

  19                      THE WITNESS:       If they move during the

  20            procedure, they're obviously not under surgical

  21            anesthesia.
  22    BY MS. NELSON-MAJOR:

  23            Q.        Short of a patient moving, is there some

  24    proactive way to assess for a level of surgical

  25    anesthesia?

                                   Gibson Court Reporting

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             VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    70


   1            A.        Again, outside my area of expertise.

   2            Q.        Is there any sort of video feed that

   3    captures the execution chamber that you can see in the

   4    anteroom?

   5            A.        No.

   6            Q.        So Duty No. 3, again on Page 19, states:
   7    "To examine the body for vital signs five minutes after

   8    the LIC has been injected."

   9                      Do you remain in the anteroom until it's

  10    time to check the inmate for vital signs?

  11            A.        I remain until -- in the anteroom until

  12    the Warden opens the door for me to come in.

  13            Q.        So the Warden comes and gets you when
  14    it's time?

  15            A.        Yes.

  16            Q.        So you don't keep track of the five

  17    minutes yourself?

  18            A.        I have no idea when the time is started.

  19            Q.        Do you agree that five minutes is an

  20    appropriate amount of time to wait before assessing the

  21    inmate for vital signs?
  22            A.        Yes.

  23                      MR. SUTHERLAND:        Object to the form.        You

  24            can answer, which you did.

  25    BY MS. NELSON-MAJOR:

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             VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    71


   1            Q.        And what are the bases for that opinion?

   2            A.        Four minutes without a heartbeat

   3    basically renders irreversible vital signs loss.

   4            Q.        I'm sorry, how many minutes without a

   5    heartbeat is?

   6            A.        Four minutes.
   7            Q.        Do you know if the five minutes begins to

   8    run on administration of the first drug?

   9            A.        That's what the protocol says.

  10            Q.        I'm sorry, can you repeat your answer?

  11            A.        That's what the protocol says.

  12            Q.        So it's your understanding that you're

  13    assessing vital signs after the administration of the
  14    first drug?

  15            A.        My only understanding is when they invite

  16    me in.       I don't know the time limit after the drug has

  17    been injected.

  18            Q.        And what vital signs do you assess?

  19            A.        Depending on the type of execution.

  20            Q.        Let's start with lethal injection.              In a

  21    lethal ejection execution, what sorts of vital signs do
  22    you assess?

  23            A.        I check corneal reflex, even though they

  24    have been given a paralytic.           Check for pulse.        Check

  25    for spontaneous respirations.            Check for carotid

                                   Gibson Court Reporting

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             VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    72


   1    pulses, check for femoral pulses.

   2            Q.        You said you would check for corneal

   3    reflex, even though they have been given a paralytic?

   4            A.        Yes.

   5            Q.        Can you explain that answer to me?

   6            A.        Just a routine habit.
   7            Q.        Is there something about the paralytic

   8    that renders the corneal reflex check less meaningful?

   9            A.        I don't think they can respond after

  10    they've been given the paralytic.

  11            Q.        So the inmate would not be able to move

  12    their eyes after the paralytic?

  13            A.        Right.
  14            Q.        And that would be true even if they were

  15    still alive?

  16            A.        Right.

  17            Q.        Does the paralytic interfere with any of

  18    the other methods you just outlined for assessing vital

  19    signs?

  20            A.        Obviously, respirations.

  21            Q.        How do you assess the corneal reflex?
  22            A.        Run a finger over their eyelids --

  23    eyelashes, excuse me.

  24            Q.        You said you feel for a pulse.            How long

  25    do you feel for a pulse?

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               VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                  73


   1            A.        Well, the entire vascular exam is going

   2    to take somewhere between two and three minutes.

   3            Q.        I'm sorry, can you repeat that time?

   4            A.        The entire vascular exam is going to take

   5    two or three minutes.

   6            Q.        What are the steps in that vascular exam?
   7            A.        Checking for carotid pulses, checking for

   8    femoral pulses, listening for any heart sounds.

   9            Q.        And how do you listen for a carotid

  10    pulse?

  11            A.        You feel for a carotid pulse.            You can

  12    auscultate for one.

  13            Q.        I'm sorry, I missed the second part of
  14    that.    You can also what for one?

  15            A.        Use your stethoscope to see if there's

  16    one.

  17            Q.        And when you're assessing an inmate

  18    during an execution, how do you check for that carotid

  19    pulse?    Which way do you use?

  20            A.        Both.

  21            Q.        And for how long do you check for the
  22    carotid pulse?

  23            A.        It's part of the vascular exam.             All of

  24    it together takes two or three minutes.

  25            Q.        I understand, and I'm asking how much

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             VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    74


   1    time you devote to each one of the three steps you just

   2    outlined.

   3            A.        One-third for each of the three steps.

   4            Q.        Do you keep track of the time somehow?

   5            A.        There's a clock in the execution chamber.

   6            Q.        Does the clock have seconds on it?
   7            A.        Yes.

   8            Q.        And do you use a stethoscope to listen

   9    for the carotid pulse?

  10            A.        Yes.

  11            Q.        And which stethoscope?

  12            A.        Both.

  13            Q.        So you switch at some point?
  14            A.        Yes.

  15            Q.        And what about for the femoral pulse?

  16            A.        Femoral, all you can do is feel.

  17            Q.        You can't listen for that one?

  18            A.        No.

  19            Q.        And how long do you listen for the

  20    femoral pulse?

  21            A.        I palpate both sides approximately a
  22    minute.

  23            Q.        A minute each, or a minute total?

  24            A.        A minute total.

  25            Q.        And how do you listen for heart sounds?

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               VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                  75


   1            A.        With a stethoscope.

   2            Q.        Which stethoscope?

   3            A.        Yes.

   4            Q.        Which one, the electronic or the regular

   5    one?

   6            A.        Both.
   7            Q.        Do you switch?

   8            A.        Yes.

   9            Q.        And how long do you listen for heart

  10    sounds, total?

  11            A.        A minute.

  12            Q.        You said you also check for spontaneous

  13    respirations.
  14            A.        Yes.

  15            Q.        How do you do that?

  16            A.        See whether their chest is rising and

  17    falling rhythmically.

  18            Q.        If the chest is rising and falling, but

  19    not rhythmically, what does that indicate?

  20            A.        It could be agonal respirations.

  21            Q.        And what is that?
  22            A.        Respirations one has while they're dying.

  23            Q.        And how long do you look for spontaneous

  24    respirations?

  25            A.        The whole time I'm in the room.

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             VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    76


   1            Q.        So while you're conducting the other

   2    checks?

   3            A.        Yes, yes, yes.

   4            Q.        Have you ever observed spontaneous

   5    respirations in an inmate during a vital signs check?

   6            A.        No.
   7            Q.        Have you ever observed anything during

   8    your vascular exam during an execution?

   9            A.        Other than negative, no.

  10            Q.        Do you check an inmate's blood pressure

  11    during the vital signs assessment?

  12            A.        No.

  13            Q.        Do you use an EKG?
  14            A.        No.

  15            Q.        Anything else that we haven't covered?

  16            A.        No.

  17            Q.        You said the process is different when

  18    you're assessing for vital signs during an

  19    electrocution execution.          How is it different?

  20            A.        With an electrocution execution I don't

  21    know what the electrical discharge has done to the
  22    heart, so I pay more attention with my electronic

  23    stethoscope.

  24            Q.        You said you pay more attention to the

  25    electronic --

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             VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    77


   1            A.        Yeah.

   2            Q.        -- stethoscope?

   3            A.        Yes.

   4            Q.        Why?

   5            A.        I think it's more accurate.

   6            Q.        Have you followed the same protocol at
   7    every lethal injection execution for assessing vital

   8    signs?

   9            A.        Yes.

  10            Q.        Is anyone else in the execution chamber

  11    with you when you're assessing vital signs?

  12            A.        Only the first time.

  13            Q.        And who was that person, without naming
  14    names?

  15            A.        Another physician.

  16            Q.        And what was your understanding of why

  17    that other physician was also present?

  18            A.        Basically, the contract, I'm supposed to

  19    have a substitute if I'm not available.

  20            Q.        Did you arrange for that substitute to be

  21    present?
  22            A.        I was checking to see if they would be

  23    interested.

  24            Q.        And as a result of that person's

  25    attendance did they also sign a contract with TDOC, if

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             VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    78


   1    you know?

   2            A.        I don't know the answer to that.

   3            Q.        Was that the only execution that person

   4    has attended during your tenure?

   5            A.        Yes.

   6            Q.        Do you know whether that person indicated
   7    to TDOC that they were willing to be the substitute?

   8            A.        I don't know the answer to that.

   9            Q.        Again, without naming names, this is a

  10    person that you know outside of your work with TDOC?

  11            A.        Yes.

  12            Q.        Did you detect signs of life in any of

  13    the inmates that you assessed for vital signs?
  14            A.        I'm sorry, did I detect signs of life?

  15            Q.        In any of the inmates that you assessed

  16    for vital signs following a lethal injection execution?

  17            A.        No, I have not.

  18            Q.        Duty No. 4 states:         "Notify the Warden

  19    that the inmate is not legally dead."               What does

  20    "legally dead" mean?

  21            A.        Does not fit the criteria for legal
  22    death.

  23            Q.        And what are the criteria for legal

  24    death?

  25            A.        Depending on which one you use, the

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             VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    79


   1    irreversible cessation of all vital signs.

   2            Q.        Is that the definition that TDOC supplied

   3    to you?

   4            A.        No.

   5            Q.        Where does that definition come from?

   6            A.        Google.
   7            Q.        Google?

   8            A.        Uh-huh.

   9            Q.        When did you Google the definition of

  10    "legally dead?"

  11            A.        Six months ago.

  12            Q.        And why did you Google that term?

  13            A.        I think it had something to do with a
  14    COVID patient on ECMO.

  15            Q.        I'm sorry, can you repeat that answer?

  16    I'm having trouble with the voice modulator.

  17            A.        It had something to do with a COVID

  18    patient on ECMO.

  19            Q.        And prior to six months ago, what

  20    definition of "legally dead" were you using?

  21            A.        My own.
  22            Q.        Did you say "Mine?"

  23            A.        My own.

  24            Q.        And what is your own definition?

  25            A.        Irreversible cessation of all vital signs

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             VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    80


   1    or vital functions.

   2            Q.        And where does that -- where did you get

   3    that definition from?

   4            A.        My years of practice.

   5            Q.        And how would you notify the Warden if

   6    the inmate was not legally dead?
   7            A.        Directly, verbally.

   8            Q.        Is the Warden in the execution chamber

   9    with you while you are pronouncing death?

  10            A.        Yes.

  11            Q.        What would you do if the inmate was not

  12    dead?

  13            A.        Notify the Warden and immediately
  14    leave --

  15                      MR. SUTHERLAND:        Object to the form.        I'm

  16            sorry, object to the form.           You can answer.

  17                      THE WITNESS:       Notify the Warden and leave

  18            the execution chamber.

  19    BY MS. NELSON-MAJOR:

  20            Q.        Would you tell the Warden any other

  21    instructions if the inmate was not dead?
  22            A.        It depends on the situation.

  23            Q.        And what is -- what do you mean by

  24    "depends on the situation?"

  25            A.        There are several hypotheticals that

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             VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    81


   1    could occur that he would need to know about.                 If I saw

   2    one of them, I would notify him before I left the

   3    execution chamber.

   4            Q.        Have you ever discussed with the Warden

   5    those hypotheticals?

   6            A.        No.
   7                      MS. NELSON-MAJOR:        I think now is a good

   8            time to take a break, if that's okay with you,

   9            Mr. Sutherland and Physician.

  10                      MR. SUTHERLAND:        Just a regular break?

  11                      MS. NELSON-MAJOR:        I mean, I would be

  12            fine pausing for a longer break for lunch.                I

  13            don't know if that's too early on your end, but --
  14                      MR. SUTHERLAND:        No, that's fine.

  15                      MS. NELSON-MAJOR:        Do you want to come

  16            back at 1:00 Eastern, 12:00 Central?

  17                      MR. SUTHERLAND:        Yup, that'll be fine.

  18                      MS. NELSON-MAJOR:        All right.      Thank you.

  19                      MR. SUTHERLAND:        All right.     You bet.

  20                      THE VIDEOGRAPHER:        We're off record at

  21            12:21 p.m.
  22                      (Recess at 12:21 p.m. to 12:59 p.m.)

  23                      THE VIDEOGRAPHER:        We are back on record

  24            at 12:59 p.m.

  25    BY MS. NELSON-MAJOR:

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             VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    82


   1            Q.        Physician, when we left off you were

   2    saying that there are a number of hypothetical

   3    situations you could imagine that might occur when an

   4    inmate is not dead when you assess them.               What are some

   5    of those hypothetical situations you had in mind?

   6            A.        Hypothetically, you could have a vein
   7    blow out while the injection was being given and the

   8    medication wouldn't be -- all of it given

   9    intravenously.

  10            Q.        Were there other hypothetical situations

  11    you had in mind?

  12            A.        That was the main one.

  13            Q.        And if that had occurred, what would your
  14    instructions to the Warden be?

  15            A.        I -- I would again inform him of such,

  16    leave the room, and the IV Team would come back in.

  17            Q.        And back on Page 19 of Exhibit No. 1, I'm

  18    looking at No. 5, which states:            "Pronounce death if no

  19    vital signs are detected."

  20                      Do you notify the Warden that the inmate is

  21    legally dead?
  22            A.        Yes.

  23            Q.        And then after you pronounce death, what

  24    do you do?

  25            A.        Leave the execution chamber.

                                   Gibson Court Reporting

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             VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    83


   1            Q.        So you're not present when personnel from

   2    the Medical Examiner's Office examines the body?

   3            A.        No, I come back in later.

   4            Q.        So after you pronounce death, you leave.

   5    And then are you summoned back into the execution

   6    chamber at some point?
   7            A.        No.    When the Extraction Team is called,

   8    I go back into the execution chamber and stand in a

   9    corner until -- while the body is examined and when it

  10    is put on a gurney and taken out.

  11            Q.        And do you do anything while that

  12    examination is occurring?

  13            A.        No.
  14            Q.        What's the purpose of you being in the

  15    room during that examination?

  16                      MR. SUTHERLAND:        Object to the form.        You

  17            can answer.

  18                      THE WITNESS:       Make sure there's been

  19            error in -- no error in the diagnosis of death.

  20    BY MS. NELSON-MAJOR:

  21            Q.        And how do you do that?
  22            A.        Notify that the body is not moving or

  23    having any spontaneous respirations.

  24            Q.        So you continue to monitor the body for

  25    vital signs while the Medical Examiner's personnel is

                                   Gibson Court Reporting

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             VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    84


   1    doing their examination?

   2            A.        Only a cursory visual exam.

   3            Q.        Do you sign the death certificate?

   4            A.        I don't recall that I ever have.

   5            Q.        Are you present when the body is removed

   6    from the execution chamber?
   7            A.        Yes.

   8            Q.        If you've already pronounced the inmate

   9    legally dead, why are you continuing to monitor the

  10    inmate for vital signs on an observational basis?

  11            A.        To make sure there was no errors.

  12            Q.        And have you ever visually observed vital

  13    signs in an inmate during that time?
  14            A.        I have never visually observed any

  15    movement or spontaneous respirations.

  16            Q.        And if you're aware, has the Medical

  17    Examiner's Office personnel ever observed that?

  18            A.        I can't speak --

  19                      MR. SUTHERLAND:        Object to the form.        You

  20            can answer.

  21                      THE WITNESS:       I can't speak for them.
  22    BY MS. NELSON-MAJOR:

  23            Q.        Have you ever had a discussion with

  24    anyone at TDOC about how a particular execution went

  25    after the fact?

                                   Gibson Court Reporting

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              VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                   85


   1            A.        None that I recall.

   2            Q.        And in the days leading up to an

   3    execution, do you have any involvement?

   4            A.        No.

   5            Q.        So you don't examine the inmate prior to

   6    an execution?
   7            A.        No.

   8            Q.        Or review medical records?

   9            A.        No.

  10            Q.        Or assemble supplies?

  11            A.        Or what?

  12            Q.        Do you assemble any supplies in the days

  13    leading up to the execution?
  14            A.        No.

  15            Q.        If it was reported to you that the IV

  16    Team was unable to establish IV access, what would you

  17    do?

  18            A.        Go in and assess the inmate.

  19                      MR. SUTHERLAND:        Object.    Excuse me.

  20            Excuse me.      Object to the form, but you can

  21            answer.
  22                      THE WITNESS:       Go in an assess the inmate

  23            and decide whether a cutdown or central venous

  24            line was needed.

  25    BY MS. NELSON-MAJOR:

                                   Gibson Court Reporting

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             VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    86


   1            Q.        And what would you be looking for during

   2    that exam?

   3            A.        Track marks, sclerosed veins.            No

   4    evidence of peripheral venous veins.

   5            Q.        Would you attempt to achieve -- achieve

   6    peripheral access yourself?
   7            A.        Only by means --

   8                      MR. SUTHERLAND:        Object to the -- object

   9            to the form.      You can answer.

  10                      THE WITNESS:       Only by means of a cutdown.

  11    BY MS. NELSON-MAJOR:

  12            Q.        Is there an ultrasound available for you

  13    to use when attempting to locate a vein during an
  14    execution?

  15            A.        No.

  16            Q.        Have you ever used an ultrasound to

  17    locate a vein to establish IV access in your practice

  18    outside of your work with TDOC?

  19            A.        No.

  20            Q.        If peripheral access was not possible,

  21    what other methods would you contemplate using during
  22    an execution?

  23            A.        Central venous access through the femoral

  24    vein.

  25            Q.        Is that the only alternative procedure

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             VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    87


   1    for obtaining venous access that you would consider

   2    using?

   3            A.        I'd consider that to be the safest.

   4            Q.        And why do you consider that to be the

   5    safest?

   6            A.        Anyone can do it, and you don't run the
   7    risk of a pneumo- or a hemothorax.

   8            Q.        And can you explain those medical terms

   9    you just used.       What is a pneumothorax?

  10            A.        Collapsing a lung or having bleeding into

  11    the chest cavity.

  12            Q.        And those are risks associated with what

  13    type of procedure?
  14            A.        Subclavian vein central cannulization.

  15            Q.        Are those also types of central venous

  16    catheters?

  17            A.        Yes.

  18            Q.        So the only type of central venous

  19    catheter you would attempt is in the femoral artery?

  20            A.        Vein.

  21            Q.        Excuse me.      Is that the -- is the femoral
  22    vein the only type of central venous catheter you would

  23    attempt?

  24            A.        Yes.

  25            Q.        Besides the femoral vein central venous

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             VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    88


   1    catheter, are there other alternative methods for

   2    achieving IV access that you might use on an inmate?

   3            A.        No.

   4            Q.        So you wouldn't try a cutdown procedure?

   5            A.        I misunderstood the question.            I thought

   6    you were addressing central venous access.
   7            Q.        Oh, excuse me.       Besides central venous

   8    access through the femoral vein, what other

   9    alternatives to peripheral access would you attempt

  10    during an execution?

  11            A.        If the situation warranted, a cutdown.

  12            Q.        And in what veins would you attempt the

  13    cutdown procedure?
  14            A.        Whichever vein was available.

  15            Q.        And when you say if the situation

  16    warranted you would consider a cutdown, what situations

  17    would warrant a cutdown?

  18            A.        The patient -- excuse me.           The inmate

  19    might be so morbidly obese that they couldn't achieve

  20    peripheral access and might need a cutdown to expose

  21    the vein.
  22            Q.        Is central venous catheters in the

  23    femoral vein not possible if someone is morbidly obese?

  24            A.        Yes.

  25            Q.        You stated that you would also examine

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             VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    89


   1    the inmates for track marks and sclerosed veins.                  How

   2    would those factor into your decision about which

   3    alternative for peripheral access you would choose?

   4            A.        If the patient has totally sclerosed

   5    veins from the antecubital cuff, a cut- -- peripheral

   6    cutdown at the wrist is not going to get the
   7    medications delivered.

   8            Q.        Would you try intraosseous access during

   9    an execution?

  10            A.        No.

  11            Q.        Why not?

  12            A.        Unwarranted.

  13            Q.        What do you mean by "unwarranted?"
  14            A.        I have alternate means of access before

  15    intraosseous would ever be considered.

  16            Q.        If possible, would cental venous

  17    catheters in the femoral vein be your first choice when

  18    peripheral access is not possible?

  19            A.        Yes.

  20            Q.        And you stated that anyone can do a

  21    central venous catheter, I believe I heard.                What did
  22    you mean by that statement?

  23            A.        It's a minor procedure.           Surely,

  24    everybody's been exposed to it.

  25            Q.        What do you mean by "everyone's been

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             VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    90


   1    exposed to it?"

   2            A.        I would think that all physicians have

   3    been exposed to it during their medical training.

   4            Q.        Is a cutdown also a minor procedure?

   5            A.        To most people.

   6            Q.        "To most people?"        Do you mean people in
   7    general, or doctors?

   8            A.        To most physicians.

   9            Q.        Why would you choose the femoral vein

  10    central line over a cutdown, if both are minor

  11    procedures?

  12            A.        I already answered the question.

  13            Q.        Can you repeat?        I'm sorry, I'm having a
  14    hard time with the static.

  15            A.        If the evidence of all proximal veins

  16    were of sclerosis, it would not do any good to perform

  17    a distal venous cutdown because the medication couldn't

  18    get central.

  19            Q.        When you say "the medication couldn't get

  20    central," does the central venous line deliver

  21    medication more quickly throughout the body?
  22            A.        The larger veins are hardly ever involved

  23    in sclerosis from drug use.

  24            Q.        Are there safety risks associated with a

  25    cutdown that are not associated with a central venous

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             VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    91


   1    catheter?

   2            A.        Not that I'm aware of.

   3            Q.        Have you ever performed a cutdown during

   4    a lethal injection procedure in Tennessee?

   5            A.        No.

   6            Q.        If you could again turn to Page 19 of
   7    Exhibit 1.

   8            A.        Somehow I've lost my exhibits, so if you

   9    could get them up for me?

  10                      MS. NELSON-MAJOR:        Mr. Sutherland, I

  11            don't know if you have someone available to locate

  12            the files for the Physician.

  13                      You're muted, Mr. Sutherland.
  14                      MR. SUTHERLAND:        Dean, could you go in

  15            and pull the thumb drive up?

  16                      MS. NELSON-MAJOR:        Thank you.

  17                      David, can we go off the record?             I'm not

  18            sure this will take very long, but just in an

  19            abundance of caution.         Thank you.

  20                      THE VIDEOGRAPHER:        We're off record at

  21            1:14 p.m.
  22                      (Technical pause.)

  23                      THE VIDEOGRAPHER:        We are back on record

  24            at 1:16 p.m.

  25    BY MS. NELSON-MAJOR:

                                   Gibson Court Reporting

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             VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    92


   1            Q.        If you could turn to Page 19 of Exhibit

   2    1.   Do you have that up, Physician?

   3            A.        Yes.

   4            Q.        Okay.    No. 2, the second duty listed is:

   5                      "As an alternate or last option, the

   6                      Physician may perform a venous cutdown
   7                      procedure should the IV Team be unable to

   8                      find a vein adequate to insert the

   9                      catheter."

  10                      Who determines if the IV Team is unable to

  11    find a vein?

  12            A.        I'm sorry?

  13            Q.        If you know, who determines if the IV
  14    Team is unable to find a vein, without naming names?

  15            A.        The IV Team.

  16            Q.        Is there a time limit on how long the IV

  17    Team can attempt to achieve IV access?

  18            A.        I don't know the answer to that.

  19            Q.        What about a limit on the number of

  20    attempts that the IV Team may perform?

  21            A.        Again, I don't know their -- their
  22    criteria.     I don't know the answer.

  23            Q.        Has anyone ever discussed with you how

  24    that determination is made?

  25            A.        No.

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             VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    93


   1            Q.        Do you think you should be the person to

   2    determine whether a cutdown or alternative IV access is

   3    necessary?

   4                      MR. SUTHERLAND:        Object to the form.        You

   5            can answer.

   6                      THE WITNESS:       I think it should be a
   7            joint decision between myself and the IV Team.

   8    BY MS. NELSON-MAJOR:

   9            Q.        Does the facility at which you work have

  10    any limit on the IV attempts that can be made on a

  11    patient before moving to a different procedure?

  12                      MR. SUTHERLAND:        Object to the form.        You

  13            can answer.
  14                      THE WITNESS:       Where I work, there's no

  15            limits.

  16    BY MS. NELSON-MAJOR:

  17            Q.        During an execution in which you have

  18    served as Physician, was there ever a time that you

  19    were told that the IV Team was having trouble

  20    establishing IV access?

  21            A.        No.
  22            Q.        Where on the body is a cutdown procedure

  23    performed?

  24            A.        Wherever a vein is.

  25            Q.        Would you perform a cutdown on an

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             VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    94


   1    inmate's great -- I might mispronounce this word,

   2    excuse me in advance -- saphenous vein?

   3            A.        I have done that, yes.

   4            Q.        On an inmate?

   5            A.        No.

   6            Q.        On a patient in your general medical
   7    practice?

   8            A.        Yes.

   9            Q.        Under what circumstances have you done

  10    that on a patient?

  11            A.        It was a proceeding up in the chest, they

  12    needed IV access.        It was the only access I had

  13    available to me.
  14            Q.        At what location on the leg would you

  15    attempt to access the great saphenous vein at an

  16    execution?

  17            A.        At the ankle.

  18            Q.        Would you perform a cutdown on an

  19    inmate's basilic vein?

  20            A.        Basilic vein?       Yes.

  21            Q.        Yes?    I'm sorry.      Was your answer "Yes?"
  22            A.        Yes.

  23            Q.        What about the brachial vein?

  24            A.        Brachial?

  25            Q.        Yes.

                                   Gibson Court Reporting

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             VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    95


   1            A.        Yes.

   2            Q.        And of those veins, what would your order

   3    of preference be?

   4            A.        Again, depending on the situation,

   5    wherever a peripheral vein was present and there

   6    appeared to be no proximal venous obstruction.
   7            Q.        Would you examine each one of those veins

   8    as a potential site before making that decision?

   9            A.        I would examine all four extremities.

  10            Q.        How is a cutdown performed?

  11            A.        A transverse incision is made over the

  12    vein.    It's isolated.       Two silk sutures are placed

  13    proximally distal.        A small nick is made in the vein,
  14    and a catheter is inserted and tied off with silk

  15    sutures.

  16            Q.        Would you administer an anesthetic before

  17    performing a cutdown on an inmate during an execution?

  18            A.        Absolutely.

  19            Q.        And what kind of anesthetic would you

  20    administer?

  21            A.        1-percent lidocaine.
  22            Q.        Is that a topical anesthesia?

  23            A.        It's given subcutaneously.

  24            Q.        And what dosage of lidocaine would you

  25    administer?

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             VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    96


   1            A.        1 to 2 ml's would be sufficient.

   2            Q.        Do you apply a tourniquet?

   3            A.        No.

   4            Q.        And how deep is that initial external

   5    incision that you make?

   6            A.        Skin deep, 2 millimeters.
   7            Q.        And how do you isolate the vein?

   8            A.        With a hemostat.

   9            Q.        And what sort of sutures do you use when

  10    making those two tie-offs that you mentioned?

  11            A.        They're not tie-offs, they're traction

  12    devices.     Any suture would work, but they have silk

  13    available.
  14            Q.        Do you secure the catheter in some

  15    fashion?

  16            A.        I'm sorry?

  17            Q.        Do you secure the catheter somehow --

  18            A.        Yes.

  19            Q.        -- after it's inserted?

  20            A.        Yes, a proximal suture --

  21            Q.        How do --
  22            A.        A proximal suture will be tied over the

  23    vein and the catheter.

  24            Q.        And what gauge catheter would you use?

  25            A.        At least an 18 gauge.

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              VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                   97


   1            Q.        Do you suture the -- would you suture the

   2    external incision?

   3            A.        In a normal situation, I would.             I'm not

   4    sure I would in this one.

   5            Q.        Why not in this -- "this one," as you put

   6    it?
   7            A.        It's an execution.

   8            Q.        And why would you suture it in a normal

   9    medical setting?

  10            A.        Because it might be needed for several

  11    days.

  12            Q.        And during an execution, would you cover

  13    the site with anything?
  14            A.        Yes.

  15            Q.        With what?

  16            A.        They have sterile clear dressings that

  17    could go over the entire site.

  18            Q.        What would you do if you were

  19    unsuccessful in obtaining IV access on your first

  20    attempt to perform a cutdown procedure?

  21            A.        Go elsewhere.
  22                      MR. SUTHERLAND:        Object to the form.        You

  23            can answer.

  24    BY MS. NELSON-MAJOR:

  25            Q.        What do you mean by "Go elsewhere?"

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              VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    98


   1            A.         Obviously pick a different site.

   2            Q.         Has it ever happened to you in your

   3    general medical practice?

   4            A.         I don't recall any time.

   5            Q.         In your medical practice, has a vein ever

   6    ruptured when you were attempting to achieve access via
   7    a cutdown procedure?

   8            A.         No.

   9            Q.         What size scalpel would you use during a

  10    cutdown?

  11            A.         I would use any they have available,

  12    including a 10, 11, and a 15.

  13            Q.         Are there different situations in which
  14    you would use a different-sized scalpel?

  15            A.         No.

  16            Q.         So it doesn't matter?

  17            A.         No.

  18            Q.         Could you please turn to Page 82 of

  19    Exhibit 1.

  20            A.         82.

  21            Q.         Have you seen this page before?
  22            A.         I'm sorry, you said 82?

  23            Q.         That's correct.

  24            A.         Mine stops at Exhibit 79.

  25            Q.         Oh.   If you look at the bottom right-hand

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              VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    99


   1    corner there's page numbers printed at the bottom that

   2    don't correspond to the number of pages in the PDF.                   So

   3    look at the bottom right-hand corner for Page 82.

   4            A.         Okay.    Can you give me a minute to open

   5    the file?

   6            Q.         If you turn to the --
   7                       MR. SUTHERLAND:       It's Exhibit 1, Page 82.

   8            Same exhibit we were just --

   9                       THE WITNESS:      Okay.    Yes, sir.

  10    BY MS. NELSON-MAJOR:

  11            Q.         Have you seen Page 82 of Exhibit 1

  12    before?

  13            A.         I'm headed that way.
  14            Q.         Can you say that again?

  15            A.         I'm headed that way.

  16            Q.         Okay.    Let me know when you have it up.

  17            A.         Okay.

  18            Q.         Have you seen Page 82 of Exhibit 1

  19    before?

  20            A.         Yes.

  21            Q.         What is it?
  22            A.         "Lethal Injection Execution Recorder

  23    Checklist."

  24            Q.         I think we're on different pages.             If you

  25    look at the bottom right-hand corner of the page.

                                   Gibson Court Reporting

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               VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                   100


   1            A.         Okay.    I'm on 86.      Okay.    Yes.

   2            Q.         Have you seen this page before?

   3            A.         Yes.

   4            Q.         What is it?

   5            A.         The "Physician's Inventory Checklist."

   6            Q.         Did you come up with the list of items on
   7    this sheet?

   8            A.         No.

   9            Q.         Do you know who did?

  10            A.         No.

  11            Q.         Have you filled out this checklist

  12    before?

  13            A.         I'm sorry?
  14            Q.         Have you ever filled out this checklist

  15    before?

  16            A.         Have I filled the template out?            No.

  17            Q.         Before an execution starts, do you

  18    personally collect the supplies on this list?

  19            A.         No.

  20            Q.         Does someone else gather the supplies for

  21    you?
  22            A.         Yes.

  23            Q.         And when are you given those supplies?

  24            A.         Only if needed.

  25            Q.         Who would you ask if you needed these

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              VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    101


   1    supplies?

   2                       MR. SUTHERLAND:       Don't identify anybody

   3            by name, just position, if you know.

   4                       THE WITNESS:      I can't.        I don't know his

   5            name.    And it's basically the team leader of the

   6            unit.
   7    BY MS. NELSON-MAJOR:

   8            Q.         What supplies do you bring with you when

   9    you enter the chamber to assess vital signs?

  10            A.         I know you'll be glad when I put my

  11    hearing aids back in.         Now, could you repeat your

  12    question?

  13            Q.         I'm sorry about that.            I said:   Do you
  14    bring any supplies with you when you enter the chamber

  15    to assess vital signs?

  16            A.         Two stethoscopes.

  17            Q.         And that's it?

  18            A.         Yes.

  19            Q.         Do you see listed on this page "Prep

  20    kits?"

  21            A.         Yes.
  22            Q.         What is a prep kit?

  23            A.         Basically, it's a Betadine solution to

  24    create a sterile field.

  25            Q.         And that's it?

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              VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    102


   1            A.         Yes.

   2            Q.         And what is a "BP cuff?"

   3            A.         Blood pressure cuff.

   4            Q.         Have you ever used a blood pressure cuff

   5    on an inmate on the day of an execution?

   6            A.         No.
   7            Q.         How might you use a BP cuff during an

   8    execution?

   9            A.         If I thought the inmate was still alive.

  10            Q.         When you went to visit -- assess the

  11    inmate for vital signs?

  12            A.         Yes.

  13            Q.         If they appeared to still be alive, you
  14    might look at their blood pressure?

  15            A.         Yes.

  16            Q.         What are Chux?

  17            A.         They're basically absorbent pads for any

  18    bodily fluids that might be spilled.

  19            Q.         Why are Chux on the list?

  20            A.         I'm sorry, I thought you were asking

  21    about the Chux.
  22            Q.         I did.    The question was:        Why are Chux

  23    on the list?

  24                       MR. SUTHERLAND:        Objection.     Object to

  25            the form.      You can answer.

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              VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    103


   1    BY MS. NELSON-MAJOR:

   2            Q.         I can restate.       How might you use Chux

   3    during an execution?

   4            A.         I'm trying to find out where the Chux is.

   5            Q.         It's about halfway down the list.

   6            A.         Again, I see "Chux" but not "Tucks."
   7            Q.         I think it's just something getting lost

   8    in Zoom.     I'm saying it's C-H-U-X.

   9            A.         Okay.    Those -- those are Chux.          Those

  10    are absorbent pads that are used to absorb bodily

  11    fluids.

  12            Q.         And how might you use them during an

  13    execution?
  14            A.         If one had to do a cutdown, you would

  15    spread one under the procedure site to catch any

  16    spilled blood.

  17            Q.         And why is lidocaine 2 percent on this

  18    list?

  19            A.         That may be what they had.           It's either

  20    lidocaine 1 or 2 percent.

  21            Q.         And underneath "Lidocaine 2 percent" is
  22    "Lidocaine 2 percent with epinephrine?"

  23            A.         Yes.

  24            Q.         Are they used for different purposes?

  25            A.         No, they're both used for skin

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              VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    104


   1    anesthesia.

   2            Q.         And what are 4-0 VICRYL?

   3            A.         Those are just the different sutures they

   4    have.    Some are absorbable, some aren't.

   5            Q.         Are VICRYL suture absorbable?

   6            A.         Yes.
   7            Q.         Are ETHILON sutures absorbable?

   8            A.         No.

   9            Q.         What kind of sutures would you use during

  10    a cutdown procedure?

  11            A.         Makes no difference.

  12            Q.         And what is a cutdown tray?

  13            A.         It will have several small hemostats and
  14    some sterile towels present.

  15            Q.         You said that there is a commercially

  16    available kit for central lines.

  17            A.         Yes.

  18            Q.         Is that right?

  19            A.         Yes.

  20            Q.         Is that on this list somewhere?

  21                       (Witness reviews document.)
  22                       MR. SUTHERLAND:       You might want to reask

  23            your question, please.

  24                       MS. NELSON-MAJOR:        I was giving him time,

  25            because I thought he was looking at the list.

                                   Gibson Court Reporting

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              VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    105


   1    BY MS. NELSON-MAJOR:

   2            Q.         Physician, are you looking at the list?

   3            A.         I'm trying to get back.          It's 82, right?

   4            Q.         Did you lose the exhibit on the computer?

   5            A.         I'm getting there, slowly but surely.

   6                       Okay.    I do not see it.
   7            Q.         But it's your understanding that one

   8    would be made available to you if necessary?

   9            A.         One is available.

  10            Q.         And you've seen it --

  11            A.         Yes.

  12            Q.         -- at the prison?

  13            A.         Yes.
  14            Q.         Does the kit contain catheters?

  15            A.         Yes.

  16            Q.         How often do you perform cutdown

  17    procedures during your normal medical practice?

  18            A.         Once in 20 years.

  19            Q.         So you've performed one total in your

  20    medical career?

  21            A.         No, ma'am.
  22            Q.         How many total would you say you've

  23    performed over the course of your medical career?

  24            A.         A hundred.

  25            Q.         When was the last time you performed a

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              VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    106


   1    cutdown procedure?

   2            A.         Probably 20 years ago.

   3            Q.         And how often do you achieve IV access

   4    through a central line?

   5            A.         I'm sorry?

   6            Q.         How often do you perform the central line
   7    procedure that we discussed earlier?

   8            A.         I haven't performed it since 2006.

   9            Q.         And how many times in your medical career

  10    do you think you've achieved IV access through a

  11    central line?

  12            A.         Thousands.

  13            Q.         Did you change jobs in 2006?
  14            A.         Would you repeat?

  15            Q.         Did you change jobs in 2006?

  16            A.         Yes.

  17            Q.         Was performing central lines something

  18    you routinely did at that previous job?

  19            A.         Yes.

  20            Q.         And what sort of medicine did you

  21    practice at that point in time?
  22            A.         Procedural medicine.

  23            Q.         What is procedural medicine?

  24            A.         Where procedures are performed.

  25            Q.         Are you talking about surgeries?

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              VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    107


   1            A.         Yes.

   2            Q.         So you would establish a central venous

   3    line in a patient in conjunction -- conjunction with a

   4    surgery you were performing?

   5            A.         Or if other patients needed venous access

   6    for other physicians.
   7            Q.         Were these major surgeries?

   8            A.         Yes.

   9            Q.         I'm just finding my correct page in the

  10    protocol.

  11                       Do you have a subspecialty as a surgeon?

  12            A.         No.

  13            Q.         Could you please turn to Page 34 of
  14    Exhibit 1.

  15            A.         Okay.    Are we still staying on Exhibit 1?

  16            Q.         Yes; Exhibit 1, Page 34.

  17            A.         All right.

  18            Q.         Before we get to Page 34, I want to ask

  19    you one more question about that.             When you say you've

  20    performed the central lines in conjunction with

  21    surgeries, were those actual surgeries where you were
  22    the surgeon?

  23            A.         Or putting in central lines for other

  24    physicians' patients.

  25            Q.         But for some of those patients you were

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              VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    108


   1    actually performing the surgery?

   2            A.         Yes.

   3            Q.         What drugs does the current protocol

   4    contemplate using?

   5                       MS. HAYDEN-MAJORS:        I understand you're

   6            having a hard time hearing me with the static in
   7            your hearing aids.        I wonder if we should go off

   8            the record.

   9                       THE VIDEOGRAPHER:        We're off the record

  10            at 1:43 p.m.

  11                       (Recess at 1:43 p.m. to 1:57 p.m.)

  12                       THE VIDEOGRAPHER:        We are on record at

  13            1:57 p.m.
  14    BY MS. NELSON-MAJOR:

  15            Q.         Physician, we're looking at Exhibit 1,

  16    Page 34.     Do you have that up still?

  17            A.         Bear with me.

  18            Q.         Physician, we're looking at Exhibit 1,

  19    Page 34.

  20            A.         Okay.    Page 34?

  21            Q.         Page 34 of Exhibit 1.            Do you have that
  22    up?

  23            A.         Yes.

  24                       MS. NELSON-MAJOR:        I'm getting a

  25            significant amount of feedback.              I can somewhat

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              VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    109


   1            hear the Physician; but Ms. Sansom, can you hear

   2            okay?

   3                       Yeah, I don't think that this is going to

   4            work.

   5                       (Recess from 1:58 p.m. to 2:13 p.m.)

   6                       THE VIDEOGRAPHER:        We're back on record
   7            at 2:13 p.m.

   8    BY MS. NELSON-MAJOR:

   9            Q.         Physician, what drugs does the current

  10    protocol contemplate TDOC using during an execution?

  11            A.         I can offer you the answer off the cuff.

  12            Q.         I'm sorry, I didn't catch your answer.

  13            A.         I can offer you the answer off the cuff,
  14    but I haven't gotten to Page 34.

  15            Q.         I'm asking you, to your recollection,

  16    what drugs does TDOC is?

  17            A.         Midazolam, vecuronium, and potassium

  18    chloride.

  19            Q.         And looking at Page 34 of Exhibit 1,

  20    titled "Chemicals Used in Lethal Injection," have you

  21    seen this page before?
  22            A.         Yes.

  23            Q.         What total dosage of midazolam does the

  24    protocol call for?

  25            A.         A total of 500 milligrams.

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   1            Q.         And what total dose of vecuronium bromide

   2    does the protocol call for?

   3            A.         A total of 100 milligrams.

   4            Q.         And what about total dose of potassium

   5    chloride?

   6            A.         Total of 240 milligrams --
   7    milliequivalents, excuse me.

   8            Q.         And what is your understanding of the

   9    purpose of including midazolam in the lethal injection

  10    protocol?

  11            A.         It's a benzodiazepine; an antianxiety,

  12    amnestic drug.

  13            Q.         And what are the typical uses for
  14    midazolam?

  15            A.         It's an antianxiety drug.          It's used as

  16    part of an anesthetic regimen.            It's also used for

  17    procedures that call for twilight sleep.

  18            Q.         And what do you mean by "twilight sleep?"

  19            A.         Where you don't really need or require an

  20    anesthesiologist, and the patient is in a restful state

  21    but they don't remember the procedure.
  22            Q.         And is that a lighter level of sedation

  23    than would be required for a surgical procedure?

  24            A.         Americans use it for endoscopies.

  25            Q.         I'm sorry, you said who uses it for

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              VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    111


   1    endoscopies?

   2            A.         Americans.

   3            Q.         Americans?

   4            A.         Yes.

   5            Q.         In what part of the body does midazolam

   6    work?
   7                       MR. SUTHERLAND:       Can you hit the mute

   8            button when you finish your answer, doctor?

   9                       THE WITNESS:      Yes.    That, I don't know.

  10            I'm not a pharmacist --

  11    BY MS. NELSON-MAJOR:

  12            Q.         Do you know --

  13            A.         -- or an anesthesiologist.
  14            Q.         -- midazolam's mechanism of action?

  15            A.         No, I don't know.

  16            Q.         How are benzodiazepines and barbiturates

  17    different?

  18            A.         I can't give you a good answer.

  19            Q.         Is midazolam typically used as an

  20    anesthetic?

  21            A.         It's used as part of an anesthetic
  22    regimen.

  23            Q.         And what regimen is it part of?

  24                       MR. SUTHERLAND:       Object to the form.

  25    BY MS. NELSON-MAJOR:

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              VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    112


   1            Q.         You can answer.

   2                       MR. SUTHERLAND:       Okay, you can answer.

   3            But when you finish your answers, can you make

   4            sure to mute yourself?

   5                       THE WITNESS:      No, I can't, because I have

   6            to get off the exhibit.
   7    BY MS. NELSON-MAJOR:

   8            Q.         You can close out of the exhibit for now.

   9    We won't be looking at it.

  10            A.         All right.

  11            Q.         So my question was:        You said that

  12    midazolam is used as part of a regimen when used as an

  13    anesthetic, and I asked:          What other drugs are part of
  14    that regimen?

  15            A.         I'm not an anesthesiologist.           I don't

  16    know.    They have multiple drugs at their disposal.

  17            Q.         Is midazolam ever used by itself to

  18    maintain anesthesia during a surgical procedure?

  19            A.         Again, I'm not an anesthesiologist.             I

  20    don't know.

  21            Q.         Is there a difference between induction
  22    and maintenance of anesthesia?

  23                       MR. SUTHERLAND:       Object to the form.         You

  24            can answer, if you know.

  25                       THE WITNESS:      I'm not an

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              VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    113


   1            anesthesiologist.        I don't know.

   2    BY MS. NELSON-MAJOR:

   3            Q.         Have you ever used midazolam by itself to

   4    maintain a plane of general anesthesia?

   5                       MR. SUTHERLAND:       Object to the form.

   6                       THE WITNESS:      No.
   7    BY MS. NELSON-MAJOR:

   8            Q.         Was your answer "No?"            I'm sorry, I lost

   9    your answer in the objection.

  10            A.         No.

  11            Q.         And you've performed surgeries where

  12    you're not monitoring or performing the anesthesia; is

  13    that right?
  14            A.         Yes.

  15            Q.         Are you aware of whether the

  16    anesthesiologist performing the anesthesia on those

  17    surgeries ever used midazolam by itself to maintain

  18    general anesthesia?

  19            A.         I'm not aware.

  20            Q.         Does midazolam have an analgesic effect?

  21                       MR. SUTHERLAND:       Object to the form.         You
  22            can answer.

  23                       THE WITNESS:      I'm not a pharmacologist.

  24            I don't know the answer.

  25    BY MS. NELSON-MAJOR:

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              VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    114


   1            Q.         Have you ever prescribed or used

   2    midazolam by itself as an analgesic?

   3            A.         No.

   4            Q.         Have you used midazolam in your medical

   5    career before?

   6            A.         Personally, no.
   7            Q.         You've never given a patient midazolam?

   8            A.         No.   A patient has received midazolam at

   9    an endoscopy center, but I wasn't giving it.

  10            Q.         In the course of your medical practice,

  11    are endoscopies the only procedure in which you've been

  12    involved that a patient has received midazolam by

  13    itself?
  14            A.         I don't know the answer to that.

  15            Q.         And are endoscopies performed in surgery

  16    centers or hospitals?

  17                       We missed your answer.

  18            A.         I'm sorry, could you repeat your

  19    question?

  20            Q.         Do endoscopies have to be performed in

  21    hospitals?
  22                       I didn't catch your answer.

  23                       Can you restate your answer?           You were

  24    muted when you were answering.

  25            A.         An endoscopy can be performed in a

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              VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    115


   1    hospital or as an outpatient procedure.

   2            Q.         Are you aware that midazolam has a

   3    ceiling effect?

   4                       MR. SUTHERLAND:       Object to the form.         You

   5            can answer.

   6                       THE WITNESS:      No.
   7    BY MS. NELSON-MAJOR:

   8            Q.         You're not aware, or midazolam does not

   9    have a ceiling effect?

  10            A.         No, I'm not aware of a ceiling effect.

  11            Q.         And you, to be clear, have never used

  12    midazolam by itself to maintain general anesthesia?

  13                       MR. SUTHERLAND:       Object to the form.         You
  14            can answer.

  15                       THE WITNESS:      No.

  16    BY MS. NELSON-MAJOR:

  17            Q.         Are you aware that midazolam can result

  18    in a paradoxical reaction?

  19            A.         No.

  20            Q.         You're not aware that midazolam can

  21    result in a paradoxical reaction?
  22            A.         No, I'm not aware.

  23            Q.         Is midazolam acidic or alkaline?

  24            A.         Don't know the answer.

  25            Q.         What kind of drug is vecuronium bromide?

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              VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    116


   1            A.         A paralytic agent.

   2            Q.         And what is your understanding of the

   3    purpose of including the vecuronium bromide in the

   4    lethal injection protocol?

   5            A.         To stop involuntary muscle movement,

   6    which will also stop respiration.
   7            Q.         Have you used vecuronium bromide in your

   8    medical practice?

   9            A.         Yes.

  10            Q.         And for what purposes have you used it?

  11            A.         For paralyzing patients.

  12            Q.         And under what circumstances do you use

  13    it to paralyze a patient?
  14            A.         If there's a suspected closed-head injury

  15    in the emergency department and you have to intubate

  16    the patient.       If you have a sick patient on the

  17    ventilator and he's fighting it and you can't keep his

  18    oxygenation up, you can possibly paralyze them in

  19    recovery -- to recover oxygenation.

  20            Q.         And what are the therapeutic doses of

  21    vecuronium bromide?
  22            A.         I haven't used it lately enough to come

  23    up with a good answer.

  24            Q.         And when a patient is --

  25                       (Interruption.)

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              VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    117


   1                       MS. NELSON-MAJOR:        I'm just muting myself

   2            so you don't hear my office intercom.               Let me turn

   3            my do not disturb on.

   4    BY MS. NELSON-MAJOR:

   5            Q.         When vecuronium bromide is administered

   6    in a medical setting, is a patient first given some
   7    form of anesthesia?

   8                       And Physician, you're muted if you're

   9    speaking.

  10            A.         It would depend on the situation.

  11            Q.         And how would it depend?

  12            A.         If the patient were awake and alert and

  13    still required to be given a paralytic, you would
  14    obviously be giving something prior to.

  15                       If a patient is critically ill and

  16    totally unconscious, they would probably not require

  17    any other agent.

  18            Q.         And if the patient was awake and

  19    conscious when receiving the vecuronium bromide, why

  20    would you give them an anesthesia first?

  21            A.         I'm not a pharmacist or anesthesiologist.
  22            Q.         You said obviously, if a patient was

  23    conscious before giving the vecuronium bromide, they

  24    would be given anesthesia.           I'm asking, what are those

  25    obvious reasons?

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              VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    118


   1            A.         I wouldn't want to paralyze a patient who

   2    was totally awake and alert and oriented times three.

   3            Q.         Why not?

   4            A.         I suspect, if nothing else, the psychic

   5    trauma would be a problem.

   6            Q.         And the injection of the medication
   7    itself, does that cause a sensation in a patient who is

   8    conscious?

   9            A.         I don't know the answer to that.

  10            Q.         You don't know whether vecuronium bromide

  11    causes a burning sensation upon injection if

  12    administered without anesthesia?

  13                       MR. SUTHERLAND:       Objection to form.
  14                       THE WITNESS:      I don't know.

  15    BY MS. NELSON-MAJOR:

  16            Q.         Is vecuronium bromide acidic or alkaline?

  17            A.         I don't know.

  18            Q.         Was the administration of vecuronium

  19    bromide -- Physician, if you can mute yourself.                  I'm

  20    afraid you're not going to be able to hear the

  21    question.
  22            A.         Now I'm on mute.       Go ahead.

  23            Q.         Okay.    Will administration of vecuronium

  24    bromide impact the ability of an observer to assess

  25    someone for consciousness?

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              VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    119


   1            A.         I don't know the answer to that.

   2            Q.         If someone's been administered a

   3    paralytic, is it harder to assess whether that person

   4    is experiencing a reaction to a procedure or a

   5    medication?

   6                       MR. SUTHERLAND:       Objection to the form.
   7            You can answer.

   8                       THE WITNESS:      I would think, yes.

   9    BY MS. NELSON-MAJOR:

  10            Q.         And why would you think yes?

  11            A.         If they were paralyzed, they couldn't

  12    spontaneously --

  13            Q.         You muted yourself in the middle of that
  14    sentence.

  15            A.         If they were paralyzed, they couldn't

  16    move and demonstrate any reaction.

  17            Q.         And what kind drug is potassium chloride?

  18            A.         It's a normal electrolyte.

  19            Q.         I'm not sure if we caught your full

  20    answer.      Can you repeat that?

  21            A.         It's a normal electrolyte.
  22            Q.         And what is your understanding of the

  23    purpose of including the potassium chloride in the

  24    lethal injection protocol?

  25            A.         At the dose it's given, it causes

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              VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    120


   1    irregular heartbeats and cardiac asystole.

   2            Q.         Is the potassium chloride at the dose

   3    it's given, in and of itself, fatal?

   4            A.         Yes.

   5            Q.         So if an inmate was not administered the

   6    vecuronium bromide but instead just midazolam and the
   7    potassium chloride, would that be sufficient to kill

   8    the inmate?

   9                       MR. SUTHERLAND:       Object to the form.         You

  10            can answer.

  11    BY MS. NELSON-MAJOR:

  12            Q.         If you're answering, you're muted.

  13            A.         I don't know the answer to that.
  14            Q.         You stated that the 240 milliequivalents

  15    of potassium chloride on its own would be fatal.                  Do

  16    you have a sense of how quickly it would cause death?

  17            A.         Within minutes.

  18            Q.         Would it be less than five minutes, in

  19    your opinion?

  20                       If you're answering, you're muted.

  21            A.         Yes.
  22            Q.         What would a person feel if they were

  23    administered potassium chloride without anesthesia?

  24                       MR. SUTHERLAND:       Object to the form.         You

  25            can answer.

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              VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    121


   1                       THE WITNESS:      Most patients report

   2            occasionally burning in their veins when you have

   3            a normal dosage.

   4    BY MS. NELSON-MAJOR:

   5            Q.         Have you ever administered potassium

   6    chloride to a patient who has reported feeling burning
   7    in their veins?

   8            A.         No.

   9            Q.         Would you characterize the sensation

  10    caused by potassium chloride without anesthesia as a

  11    noxious stimulus?

  12                       MR. SUTHERLAND:       Object to the form.         You

  13            can answer.
  14                       THE WITNESS:      It's apparently unpleasant.

  15    BY MS. NELSON-MAJOR:

  16            Q.         If an individual was administered

  17    potassium chloride without anesthesia, would they

  18    exhibit a reaction?

  19                       MR. SUTHERLAND:       Object to form.       You can

  20            answer.

  21                       THE WITNESS:      I don't know the answer to
  22            that.

  23    BY MS. NELSON-MAJOR:

  24            Q.         Would a physical reaction to potassium

  25    chloride, the burning sensation, signal that they're

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              VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    122


   1    conscious?

   2                       MR. SUTHERLAND:       Object to the form.         You

   3            can answer.

   4                       THE WITNESS:      Given a normal therapeutic

   5            dose, yes.      I don't have any information about

   6            getting massive doses.
   7    BY MS. NELSON-MAJOR:

   8            Q.         What would the reaction look like from a

   9    person who was administered a therapy dose to the

  10    potassium chloride without an anesthetic?

  11                       MR. SUTHERLAND:       Object to the form.         You

  12            can answer.

  13                       THE WITNESS:      The patient apparently
  14            reports a burning sensation in the vein in which

  15            the therapeutic drug is being given.

  16    BY MS. NELSON-MAJOR:

  17            Q.         If a person, that patient, had first

  18    received a paralytic, would they be able to exhibit

  19    that same reaction to the potassium chloride?

  20                       MR. SUTHERLAND:       Object to the form.         You

  21            can answer.
  22                       THE WITNESS:      I don't know the answer to

  23            that.

  24    BY MS. NELSON-MAJOR:

  25            Q.         If a person is paralyzed but experiencing

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              VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    123


   1    pain, are they able to physically react?

   2                       MR. SUTHERLAND:       Object to the form.         You

   3            can answer.

   4                       THE WITNESS:      Yes.

   5    BY MS. NELSON-MAJOR:

   6            Q.         They are?
   7            A.         Yes.

   8            Q.         Can you explain that to me?

   9            A.         Tachycardia and elevated blood pressure.

  10            Q.         What about to a visual inspection?

  11            A.         You wouldn't be able to see those

  12    visually.

  13                       MR. SUTHERLAND:       I didn't hear the
  14            answer.

  15    BY MS. NELSON-MAJOR:

  16            Q.         Can you repeat that, Physician?            I didn't

  17    catch it.

  18            A.         You wouldn't be able to see those.

  19            Q.         All right.     I'm going to ask you to pull

  20    up Exhibit 70.       And I apologize for the interference

  21    that's going to cause with the muting and unmuting, but
  22    it'll be quick.

  23                       And let me know when you have it up.

  24            A.         This is a pain.       This is what page?

  25            Q.         I'm sorry.     Exhibit 70, the first page.

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   1            A.         Okay, Page 70, Exhibit No. 1.

   2            Q.         No.   Excuse me, Exhibit 70.

   3            A.         Exhibit 70?

   4            Q.         Yes, the first page.

   5            A.         I'm there.

   6            Q.         Do you recognize these documents?
   7            A.         No.

   8            Q.         You did not sign these prescriptions?

   9            A.         No.

  10            Q.         Was that "No?"

  11            A.         No.   They're redacted on that copy, so I

  12    have no idea who signed them.

  13            Q.         Do you recall signing prescriptions for
  14    the ordering of lethal injection chemicals for

  15    particular executions?

  16            A.         Do I recall it?       No.

  17            Q.         You recall signing the one order we

  18    talked about earlier; is that right?

  19                       MS. NELSON-MAJOR:        Physician, did we lose

  20            you?    Physician, are you there?           It seems like

  21            something cut off sort of abruptly.              I wonder if
  22            he lost audio.

  23                       MR. SUTHERLAND:       Dean, can you check on

  24            that, please?

  25                       MS. NELSON MAJORS:        Can we go off the

                                   Gibson Court Reporting

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   1            record?

   2                       THE VIDEOGRAPHER:        We're off record at

   3            12:37 p.m.

   4                       (Recess at 2:37 p.m. to 2:39 p.m.)

   5                       THE VIDEOGRAPHER:        We're on record at

   6            2:39 p.m.
   7    BY MS. NELSON-MAJOR:

   8            Q.         Physician, the last question I asked was:

   9    Do you recall writing just the single prescription for

  10    drugs for TDOC to use during the lethal injection

  11    procedure?

  12            A.         Yes.

  13            Q.         Have you ever seen the drugs in TDOC's
  14    possession for use in lethal injection executions?

  15                       If you're answering, you're muted.

  16            A.         I don't recall.

  17            Q.         Have you ever been involved in

  18    inventorying the drugs in TDOC's possession for use in

  19    lethal injection executions?

  20            A.         Repeat, please?

  21            Q.         Have you ever inventoried the drugs in
  22    TDOC's possession for use in lethal injection

  23    executions?

  24            A.         Not that I recall.

  25            Q.         Have you ever discussed how to perform

                                   Gibson Court Reporting

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              VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    126


   1    the consciousness check with Warden Tony Mays?

   2            A.         No.

   3            Q.         Or anyone else involved in carrying out

   4    the executions?

   5            A.         No.

   6            Q.         Have you ever had a conversation with
   7    anyone on the Execution Team about contingencies for

   8    problems that might arise during an execution?

   9            A.         No.

  10            Q.         When you initially discussed performing

  11    the Physician role with TDOC, did they ask you how long

  12    ago you last performed a cutdown procedure?

  13            A.         No.
  14            Q.         Outside of your role in executions, do

  15    you supply medical care to TDOC staff?

  16                       MR. SUTHERLAND:       I'm going to object and

  17            instruct the witness not to answer, based on the

  18            Court's protective order.

  19    BY MS. NELSON-MAJOR:

  20            Q.         Have you ever been dis- -- disciplined by

  21    a medical board?
  22            A.         Yes.

  23            Q.         How many times have you been disciplined

  24    by a medical board?

  25            A.         Once.

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   1            Q.         And when was that?

   2            A.         2009.

   3            Q.         And what was the discipline that was

   4    imposed?

   5            A.         Loss of general surgical accreditation.

   6            Q.         You said loss of surgical accreditation?
   7            A.         Yes.

   8            Q.         And what were the circumstances of the

   9    events that led to the loss of your surgical

  10    accreditation?

  11            A.         Too many malpractice suits.

  12            Q.         Did that proceeding impact your medical

  13    license?
  14            A.         No.

  15            Q.         Was there a hearing in that matter?

  16            A.         No.

  17            Q.         Did you contest this allegation?

  18            A.         No.

  19            Q.         Have you ever been referred to the

  20    Tennessee Medical Foundation?

  21                       MR. SUTHERLAND:       I'm going to object and
  22            instruct the witness not to answer, based on the

  23            protective order.

  24    BY MS. NELSON-MAJOR:

  25            Q.         Why didn't you contest the allegations in

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   1    the disciplinary action?

   2            A.         I was tired of the medicolegal system and

   3    I was ready to stop.

   4            Q.         You previously stated that you have been

   5    deposed in two to three medical malpractice suits.

   6    Were there additional medical malpractice suits against
   7    you in which you did not -- you were not deposed?

   8            A.         Yes.

   9            Q.         How many medical malpractice suits total

  10    would you estimate have been filed against you?

  11            A.         As a general surgeon, six.

  12            Q.         Were medical malpractice suits filed

  13    against you not as a general surgeon?
  14            A.         Yes.

  15            Q.         And how many were filed against you in

  16    capacities other than general surgeon?

  17            A.         Ten.

  18            Q.         In what capacities were those suits filed

  19    against you?

  20            A.         I was the defendant.

  21            Q.         In what capacity were you providing
  22    medicine in relation to those ten suits?

  23            A.         I was a cardiac surgeon.

  24            Q.         And what were the outcomes of those ten

  25    suits?

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   1            A.         No depositions, never went to trial.              No

   2    settlements.

   3            Q.         They were settled?

   4            A.         No settlements.       They were not settled,

   5    never went to trial.         No depositions.

   6            Q.         Were the lawsuits dismissed?
   7            A.         Yes, they were.       All of them.

   8            Q.         And what about the six lawsuits filed

   9    against you as a general surgeon?             What were the

  10    outcome of those suits?

  11            A.         Let's see.     Two were settled.         Well, the

  12    last two were settled -- excuse me, the last one was

  13    totally dropped.
  14            Q.         So two were settled, one was dropped.

  15    What about the other three?

  16            A.         I'd have to check my records, but they

  17    were basically nuisance suits.

  18            Q.         If they were nuisance suits, why was your

  19    accreditation to perform surgery revoked?

  20                       MR. SUTHERLAND:       Object to the form.         You

  21            can answer generally, if you know.
  22                       THE WITNESS:      And what was the question?

  23    BY MS. NELSON-MAJOR:

  24            Q.         If they were nuisance -- if many of these

  25    were nuisance suits, as you say, why was your

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   1    accreditation to perform surgery revoked?

   2            A.         That was internal surgery.

   3            Q.         Yes.    And if several of the lawsuits

   4    were, as you say, nuisance suits, why was your

   5    accreditation in general surgery revoked?

   6            A.         The ten nuisance suits were when I was a
   7    cardiac surgeon.

   8            Q.         Okay.    And the six lawsuits that were

   9    filed as --

  10            A.         A general surgeon.

  11            Q.         -- as a general surgeon --

  12            A.         Boarded as a general surgeon.

  13            Q.         Let me finish my question so you actually
  14    know what I'm asking.         Out of the six --

  15            A.         Yes.

  16            Q.         Out of the six lawsuits that were filed

  17    against you as a general surgeon, you said two were

  18    settled, one was dropped.           What were the outcome of the

  19    other three lawsuits filed against you as a general

  20    surgeon?

  21            A.         Again, I don't recall without checking in
  22    my records.      There was no large settlement in any of

  23    them, if there was.

  24            Q.         And outside of these lawsuits, were

  25    complaints ever filed against you with the Medical

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   1    Board?

   2            A.         No.

   3            Q.         You said that you had medical licenses at

   4    some point in other jurisdictions.              Were those licenses

   5    in other jurisdictions ever subject to a disciplinary

   6    action?
   7            A.         No.

   8            Q.         And the suits that were filed against you

   9    as the general surgeon, generally what were the

  10    allegations against you?

  11                       MR. SUTHERLAND:       You can -- you can give

  12            very general information about the allegations.

  13                       THE WITNESS:      Complications occurring
  14            during surgical procedures.

  15    BY MS. NELSON-MAJOR:

  16            Q.         And what were the complications that were

  17    alleged to have occurred during your surgeries?

  18            A.         Anastomotic breakdowns.

  19            Q.         I'm sorry, could you repeat that again?

  20    I didn't catch the first word.

  21            A.         Anastomotic breakdowns.
  22            Q.         And what does that term mean?

  23            A.         When you put two sections of the bowel

  24    together, you create an anastomosis.                Sometimes, they

  25    fall apart.

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   1            Q.         And as a cardiac surgeon, what were the

   2    allegations in general of the ten lawsuits filed

   3    against you?

   4            A.         People dying.

   5            Q.         People dying?

   6            A.         Uh-huh.
   7            Q.         Were all ten of those lawsuits involving

   8    deaths of patients?

   9            A.         I suppose.

  10                       MR. SUTHERLAND:       I'm going to -- yeah.

  11    BY MS. NELSON-MAJOR:

  12            Q.         And in these lawsuits, was it alleged

  13    that you provided medical care below the prevailing
  14    standard of care?

  15                       MR. SUTHERLAND:       Object to the form.         You

  16            can answer.

  17                       THE WITNESS:      And I apologize.        The

  18            question again?

  19    BY MS. NELSON-MAJOR:

  20            Q.         In the lawsuits filed against you, was it

  21    alleged that you provided medical care that fell below
  22    the standard of care?

  23            A.         Yes.

  24                       MS. NELSON-MAJOR:        If we could take a

  25            ten-minute break, we've been going for about

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   1            another hour.       Would that be okay?

   2                       And David, how much time do we have left?

   3                       THE VIDEOGRAPHER:        We're at approximately

   4            3 hours, 25 minutes.

   5                       MS. NELSON-MAJOR:        Thank you.

   6                       THE VIDEOGRAPHER:        We're off record at
   7            2:50 p.m.

   8                       (Recess at 2:50 p.m. to 2:59 p.m. )

   9                       THE VIDEOGRAPHER:        We are back on record.

  10            The time is 2:59 p.m.

  11    BY MS. NELSON-MAJOR:

  12            Q.         Is accreditation something different than

  13    a Board certification?
  14                       If you're answering, Physician, you're on

  15    mute?

  16            A.         I'm not aware of all the names they have,

  17    no.

  18            Q.         When you said that your accreditation to

  19    perform general surgery had been revoked, was it

  20    revoked by a state Board of Medicine?

  21                       If you're answering, you're on mute.
  22            A.         Yes.    However, the Board of Surgery

  23    revoked my Board certification and recertification.

  24            Q.         You said the Board of Surgery revoked

  25    your certification for general surgery; is that right?

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   1            A.         And recertification, yes.

   2            Q.         Did the state Board of Medicine issue

   3    some other discipline against you?

   4            A.         No, other than obviously they said I

   5    could not perform any surgical procedures.

   6            Q.         What does recertification mean?
   7            A.         It means if you have kept up with the

   8    current education and you retake the Boards ten years

   9    later, see if you can pass them.

  10            Q.         Were you accredited in both general and

  11    cardiac surgery --

  12            A.         Yes.

  13            Q.         -- at one point in your career?
  14            A.         Just general.

  15            Q.         Just general?      You did not hold a Board

  16    certification or accreditation in cardiac surgery?

  17            A.         No.

  18            Q.         When did you stop performing cardiac

  19    surgery?

  20            A.         1996.

  21                       MR. SUTHERLAND:       Doctor, please -- please
  22            let me have an opportunity to speak before you

  23            give your answers, all right?               That way, I can

  24            object if necessary.

  25                       I'm going to object to the question and

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   1            instruct the witness not to answer and move to

   2            strike, just based on the Court's protective

   3            order.

   4    BY MS. NELSON-MAJOR:

   5            Q.         Why did you stop performing cardiac

   6    surgery?
   7            A.         I had trouble with my back and neck.

   8            Q.         Have you ever lost admitting privileges

   9    at a hospital?

  10            A.         No.

  11            Q.         In the six suits filed against you as a

  12    general surgeon, did those patients also die?

  13            A.         No.   I think only one did.
  14            Q.         And when you agreed to the revocation of

  15    your certification and recertification, did you have to

  16    stipulate to any of the allegations made against you?

  17                       MR. SUTHERLAND:       I'm going to -- I'm

  18            going to object and instruct the witness not to

  19            answer the question, based on the Court's

  20            protective order.

  21    BY MS. NELSON-MAJOR:
  22            Q.         Were your certification in general and

  23    recertification revoked based on the allegations in the

  24    six lawsuits you've mentioned?

  25                       MR. SUTHERLAND:       I'm going to object.         He

                                   Gibson Court Reporting

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   1            can generally -- I'm going to object to any

   2            specific number that you're talking about, based

   3            on the Court's protective order, and instruct the

   4            witness not to answer.

   5                       If you want to ask him something general,

   6            you can ask him.
   7    BY MS. NELSON-MAJOR:

   8            Q.         When you agreed to the revocation of your

   9    certification and recertification, did you have to

  10    admit that your care fell below the prevailing standard

  11    of care?

  12            A.         No.

  13            Q.         Was your agreement to the revocation of
  14    your certification and recertification part of a

  15    settlement to any of the lawsuits?

  16                       MR. SUTHERLAND:       I'm going to object and

  17            instruct the witness not to answer that question,

  18            based on the Court's protective order.

  19    BY MS. NELSON-MAJOR:

  20            Q.         Were the settlements -- and again, I'm

  21    not asking for the content of the settlements.                 Were
  22    those settlements confidential?

  23            A.         I don't recall.

  24            Q.         Did you have to appear before the Board

  25    of Medicine in relation to this disciplinary matter?

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   1            A.         Yes.

   2            Q.         Without discussing details, what was the

   3    nature of those appearances?

   4                       MR. SUTHERLAND:       I think he's answered,

   5            based on your question; and so I'm going to

   6            instruct him not to answer about any specifics
   7            about appearing before a Medical Board, based on

   8            the Court's protective order.

   9    BY MS. NELSON-MAJOR:

  10            Q.         Physician, you previously testified that

  11    there was no hearing, but you just stated that you have

  12    appeared before the Medical Board.              And I'm trying to

  13    understand the difference that you're drawing there.
  14                       What were the nature of those

  15    appearances?       Were you asked questions?

  16            A.         Okay, I'm confused.        When you talk about

  17    medical boards, are you talking about the General

  18    Surgical Board?

  19            Q.         Was your accreditation, I believe as you

  20    referred to it, revoked by the General Surgery Board or

  21    a state Board of Medicine?
  22            A.         The General Surgery Board.

  23            Q.         When you appeared before the General

  24    Surgery Board, were you asked questions about the

  25    medical care you provided in particular cases?

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   1            A.         I did not appear in front of the General

   2    Surgery Board.

   3            Q.         You appeared before the Medical Board?

   4            A.         I appeared in front of the state Medical

   5    Boards where I had my license.

   6            Q.         Was that also in connection with the
   7    disciplinary proceeding?

   8            A.         I don't recall.

   9            Q.         Were you asked questions about medical

  10    care you had provided at those appearances?

  11            A.         No.

  12            Q.         Do you recall what was discussed -- and

  13    I'm not asking right now what was discussed, but do you
  14    recall what was discussed when you appeared before the

  15    state Medical Board?

  16            A.         Basically, I think there was a discussion

  17    about why so many malpractice suits.

  18            Q.         Did you appear with counsel?

  19            A.         No.   At that time, I was tired and ready

  20    to give it up.

  21            Q.         Did those meetings with the state Medical
  22    Board ever result in a disciplinary action being filed

  23    against you?

  24            A.         No, other than no surgical procedures be

  25    performed.

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   1            Q.         So the direction to not perform surgical

   2    procedures going forward, that came from the state

   3    Medical Board, not the Board of General Surgery?

   4            A.         Correct.

   5            Q.         And did you contest that direction in any

   6    way?
   7            A.         No.

   8                       MR. SUTHERLAND:       Object to the form,

   9            based on his prior answer.

  10    BY MS. NELSON-MAJOR:

  11            Q.         When you agreed to serve as Physician for

  12    TDOC, did you inform them of any of these disciplinary

  13    proceedings against you?
  14            A.         I don't recall.

  15            Q.         Did you take any notes during the

  16    deposition today?

  17            A.         No.

  18            Q.         And do you have any documents in the room

  19    with you other than the exhibits that we've discussed?

  20            A.         No.

  21                       MS. NELSON-MAJOR:        Those are all the
  22            questions I have for the Physician.              Thank you,

  23            Physician, for taking the time to answer my

  24            questions.

  25                       MR. SUTHERLAND:       Thank you,

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              VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF PHYSICIAN                    140


   1            Ms. Nelson-Major, Ms. Sansom, Mr. Jenkins.

   2                       THE VIDEOGRAPHER:        We're off the record

   3            at 3:11 p.m.

   4                       (Proceedings adjourned at 3:11 p.m.)

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   1                                                    C E R T I F I C A T E

   2

   3    STATE OF TENNESSEE

   4    COUNTY OF KNOX

   5                           I, Rhonda S. Sansom, RPR, CRR, CRC, LCR #685,

   6    licensed court reporter in and for the State of
   7    Tennessee, do hereby certify that the above videotaped

   8    videoconference deposition of PHYSICIAN was reported by

   9    me and that the foregoing 140 pages of the transcript

  10    is a true and accurate record to the best of my

  11    knowledge, skills, and ability.

  12                                             I further certify that I am not related

  13    to nor an employee of counsel or any of the parties to
  14    the action, nor am I in any way financially interested

  15    in the outcome of this action.

  16                                             I further certify that I am duly licensed

  17    by the Tennessee Board of Court Reporting as a Licensed

  18    Court Reporter as evidenced by the LCR number and

  19    expiration date following my name below.
          RhondaSansom@gibsonreporters.c
                                         2021.10.15 15:33:27

  20      Signer:
           CN=RhondaSansom@gibsonreporters.com


  21
  22                                                            _________________________________
                                                                Rhonda S. Sansom, RPR, CRR, CRC
  23                                                            Tennessee LCR# 0685
                                                                Expiration Date: 6/30/22
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